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14                        UNITED STATES DISTRICT COURT
15                        CENTRAL DISTRICT OF CALIFORNIA
16   GORDON ARMSTRONG,                       Case No.:
     ANDREW VIERRA, SANDY
17   MORENO and STEPHEN                      CLASS ACTION COMPLAINT FOR:
     MERMAN, individually, and on
18   behalf of a class of similarly situated (1) Violations of California’s Consumers
     individuals,                                Legal Remedies Act, Cal. Civ. Code
19                                               §1750 et seq.
                  Plaintiffs,                (2) Violations of Unfair Competition Law,
20                                               Cal. Bus. & Prof. §17200 et seq.
           v.                                (3) Breach of Implied Warranty pursuant
21                                               to Song-Beverly Consumer Warranty
     SUBARU OF AMERICA, INC. and                 Act
22   FUJI HEAVY INDUSTRIES, LTD., (4) Violations of the Colorado Consumer
                                                 Protection Act, Colo. Rev. Stat §6-1-
23                                               101 et seq.
                  Defendants.                (5) Breach of Implied Warranty of
24                                               Merchantability, Colo. Rev. Stat. §4-2-
                                                 313 & 4-2.5-212
25                                           (6) Breach of Express Warranty under the
                                                 Magnuson-Moss Warranty Act
26                                           (7) Breach of Implied Warranty under the
                                                 Magnuson-Moss Warranty Act
27                                           (8) Unjust Enrichment

28                                            DEMAND FOR JURY TRIAL


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 1         1.     Plaintiffs Gordon Armstrong, Andrew Vierra, Sandy Moreno, and
 2   Stephen Merman ( “Plaintiffs”) bring this action for themselves and on behalf of
 3   all persons in the United States who purchased or leased any 2017-2019 Subaru
 4   Forester, 2017-2019 Subaru Outback, or 2017-2019 Subaru Legacy (“Class
 5   Vehicles”) designed, manufactured, marketed, distributed, sold, warranted,
 6   and/or serviced by Subaru of America, Inc. (“SOA”) and Fuji Heavy Industries,
 7   Ltd. (“Fuji”) (together, “Defendants” or “Subaru”). Plaintiffs allege as follows:
 8                                  INTRODUCTION
 9         2.     This is a consumer class action concerning a failure to disclose
10   material facts and a safety concern to consumers.
11         3.     Defendants manufactured, marketed, distributed, and sold the Class
12   Vehicles without disclosing that the Class Vehicles’ windshields were defective
13   and dangerous because they are spontaneously and/or unreasonably cracking,
14   chipping and otherwise breaking (the “Defect”). Further, replacement
15   windshields provided by Defendants and paid for by Plaintiffs and the Class
16   suffer from the same defect and therefore are equally defective and dangerous.
17         4.     Upon information and belief, the Class Vehicles all contain the same
18   type of windshields, and the Defect is inherent in each Class Vehicle and was
19   present at the time of sale.
20         5.     Upon information and belief, Defendants knew that the Class
21   Vehicles contain this Defect but have concealed their knowledge from the public
22   and continue to deny that the Defect exists.
23         6.     A large number of Class Vehicle owners and lessees have reported
24   experiencing the Defect, often shortly after purchase. One consumer complained
25   to the National Highway Transportation Safety Authority (“NHTSA”) as
26   follows:
27                MY WINDSHIELD IS CRACKED FOR THE 2ND
                  TIME NOW IN ITS FIRST YEAR OF OWNERSHIP.
28                THE FIRST TIME IT CRACKED IT WAS BECAUSE
                  OF A PEBBLE STRIKE FROM THE ROAD.
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                 EXTREMELY SMALL FRAGMENT STRUCK THE
 1               GLASS, MADE A POCK MARK, AND THE
                 WINDSHIELD WAS REPLACED. TODAY, LESS
 2               THAN A MONTH LATER A NEW CRACK
                 APPEARED WHILE DRIVING WITHOUT ANY
 3               STRIKE FROM AN OBJECT. SUBARU DEALER
                 CLAIMS IT WAS STRUCK BUT FIND A CRACK
 4               ONLY WITHOUT ANY POINT ALONG IT OF AN
                 IMPACT MAKES ME VERY VERY SUSPICIOUS.
 5               NOW I HAVE TO WAIT FOR THE INSURANCE
                 COMPANY TO SETTLE ON CHARGES AND SEND
 6               A CHECK BEFORE THE NEXT WINDSHIELD CAN
                 BE APPLIED. MY WIFE AND I WERE CALMLY
 7               DRIVING ON COMPLETELY PAVED ROADS
                 WHEN WE BOTH WATCHED THE CRACK APPEAR
 8               AND GROW DURING OUR DRIVE. :-( I HAVE
                 DRIVEN FOR 50+ YEARS, AND OWNED 20+ CARS.
 9               I'VE NEVER HAD THIS HAPPEN.1
10
           7.    The Defect poses a serious safety hazard to drivers, passengers, and
11
     pedestrians. A spontaneously cracking or severely cracked windshield can impair
12
     the driver’s view and distract the driver. Moreover, cracks in the windshield
13
     prevent the safe and proper operation of Subaru’s “EyeSight® Driver Assist
14
     Technology”. According to Subaru,
15
                 EyeSight Driver Assist Technology is capable of
16               detecting vehicles traveling in front and can activate in
                 order to mitigate or even avoid the collision. The system
17               reduces rear-end crashes with injuries by up to 85
                 percent according to IIHS. *
18
                 With the help of two Subaru-developed color cameras
19               mounted behind the windshield, EyeSight can identify
                 vehicles traveling in front, traffic lanes, obstacles and
20               pedestrians. The system has helped reduce the rate of
                 pedestrian-related insurance claims by 41 percent
21               according to the Highway Loss Data Institute. **2
22
           8.    In addition to this obvious safety hazard putting their personal safety
23
     and that of the public at risk, vehicle owners or lessees incur substantial
24
     monetary losses because Defendants refuse to replace the broken windshields
25
26         1
              https://www.nhtsa.gov/vehicle/2018/SUBARU/OUTBACK/SW/AWD
27   (last accessed November 13, 2019).
            2
              See Subaru Press Release, Oct. 16, 2018. “Subaru Sells One-Millionth
28   Vehicle With Eyesight® Driver Assist Technology.” available at:
     http://media.subaru.com/pressrelease/1350/120/subaru-sells-one-millionth-
     vehicle-eyesight-driver-assist          Page 2
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 1   under warranty. In addition to the windshield replacement cost, consumers incur
 2   other expenses resulting from the defect, such as having the Eyesight system
 3   recalibrated. Furthermore, many consumers report having to replace their
 4   windshields multiple times due to the Defect because their windshields are being
 5   replaced with equally defective products.
 6         9.     Defendants were aware of the Defect from pre-production testing,
 7   design failure mode analysis, calls to their customer service hotline, a Technical
 8   Service Bulletin (TSB) that it sent to its dealers but not shared directly with
 9   consumers that detailed the same Defect in prior model years for two of the three
10   Class Vehicles, and customer complaints made to dealers. However, this
11   knowledge and information was exclusively in the possession of Defendants and
12   their network of dealers and, therefore, unavailable to consumers.
13         10.     The Defect is material because it poses a serious safety concern.
14   As attested by Class Members in scores of complaints to the National Highway
15   Traffic Safety Administration (“NHTSA”), and other online forums, the Defect
16   can impair any driver’s visibility, cause a distraction, affect Subaru’s
17   “EyeSight® Driver Assist Technology,” and greatly increase the risk of
18   collision.
19         11.    The Defect is also material because consumers incur significant and
20   unexpected repair costs. Defendants’ failure to disclose, at the time of purchase,
21   the Defect is material because no reasonable consumer expects to spend
22   hundreds of dollars to repair or replace windshields that either crack
23   spontaneously or only with a mild impact that would not result in cracking had
24   the Defect not existed.
25         12.    Had Defendants disclosed the Defect, Plaintiffs and Class Members
26   would not have purchased the Class Vehicles or would have paid less for them.
27
28
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 1                                    THE PARTIES
 2   Plaintiff Gordon Armstrong
 3         13.    Plaintiff Armstrong is a California resident who lives in Santa
 4   Clarita, California.
 5         14.    On June 3, 2019, Plaintiff Armstrong purchased a used 2017 Subaru
 6   Outback (VIN 4S4BSETC4H3320210) from First Kia of Simi Valley in Simi
 7   Valley, California.
 8         15.    Plaintiff Armstrong purchased his vehicle primarily for personal,
 9   family, or household use.
10         16.    Passenger safety and reliability were important factors in Plaintiff
11   Armstrong’s decision to purchase his vehicle. Before making his purchase,
12   Plaintiff Armstrong did an online search for the vehicle, including on “Google,”
13   “Youtube”, Edmunds.com, KBB.com, Carfax,.com autodtrader.com, cars.com,
14   truecar.com, and carmax.com. He watched SOA television ads, visited SOA’s
15   website to research the vehicle, and test drove his vehicle. He visited Subaru
16   Sherman Oaks in Van Nuys, CA to learn more about and inspect the model
17   vehicle. Plaintiff Armstrong believed that the Outback would be a safe and
18   reliable vehicle. When Plaintiff Armstrong purchased his vehicle, he was
19   unaware that the vehicle’s windshield contained the Defect.
20         17.    Defendants’ omissions were material to Plaintiff Armstrong. Had
21   Defendants disclosed their knowledge of the Defect before he purchased his
22   vehicle, Plaintiff Armstrong would have seen and been aware of the disclosures.
23   Furthermore, had he known of the Defect, Plaintiff Armstrong would not have
24   purchased his vehicle, or would have paid less for it.
25         18.    Specifically, on September 9, 2019, with approximately 30,000
26   miles on the odometer of his Subaru Outback, a pebble or small stone hit his
27   windshield and created a small chip less than one-half inch long near the wiper
28   blade. Over the course of the next 5 weeks, the chip slowly and steadily grew
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 1   into a T-shaped crack, with the top of the T comprised of one crack
 2   approximately 8 inches long and the other crack approximately 14 inches long.
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16         19.     On October 15, 2019, Plaintiff Armstrong took his vehicle to Santa
17   Clarita Auto Glass, Inc., where his cracked windshield was replaced with a new
18   Subaru OEM windshield, paying $490 for the repair.
19         20.     Upon information and belief, the replacement windshield supplied
20   by Subaru suffers from the same defect as the original windshield installed in
21   Plaintiff Armstrong’s Class Vehicle.
22         21.     At all times, Plaintiff Armstrong, like all Class Members, has driven
23   his vehicle in a manner both foreseeable and in which it was intended to be used.
24   Plaintiff Sandy Moreno
25         22.     Plaintiff Moreno is a California citizen who resides in Stockton,
26   California.
27         23.     On October 28, 2018, Plaintiff Moreno purchased a new 2019
28   Subaru Outback (VIN 4S4BSANC4K3216359) from Elk Grove Subaru in Elk
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 1   Grove, California.
 2         24.   Plaintiff Moreno purchased her vehicle primarily for personal,
 3   family, or household use.
 4         25.   Passenger safety and reliability were important factors in Plaintiff
 5   Moreno’s decision to purchase her vehicle. She had previously owned a 2003
 6   Subaru WRX and was familiar with the brand. She went to Modesto Subaru in
 7   Modesto, California where she test drove a Subaru Outback. She later went to
 8   Elk Grove Subaru in Elk Grove, California where she spoke extensively with a
 9   salesperson before she purchased the vehicle from that dealership. She had also
10   seen Subaru television ads. Plaintiff Moreno believed that the Outback would be
11   a safe and reliable vehicle. When Plaintiff Moreno purchased her vehicle, she
12   was unaware that the vehicle’s windshield contained the Defect.
13         26.   Defendants’ omissions were material to Plaintiff Moreno. Had
14   Defendants disclosed their knowledge of the Defect before she purchased her
15   vehicle, Plaintiff Moreno would have seen and been aware of the disclosures.
16   Furthermore, had she known of the Defect, Plaintiff Moreno would not have
17   purchased her vehicle, or would have paid less for it.
18         27.   Specifically, on December 31, 2018, with approximately 5,000
19   miles on the odometer of her Subaru Outback, a pebble or small stone hit her
20   windshield in the lower driver’s side corner. She expected that a small chip in the
21   windshield would result. Instead, a large crack appeared.
22         28.    On January 7, Plaintiff Moreno took her vehicle to Safelite Auto
23   Glass in Stockton, California where her cracked windshield was replaced with a
24   new Subaru OEM windshield, paying $100.00 for the repair, which was the
25   amount of her insurance deductible.
26         29.   Upon information and belief, the replacement windshield supplied
27   by Subaru suffered from the same defect as the original windshield installed in
28   Plaintiff Moreno’s Class Vehicle.
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 1         30.     On February 27, 2019, Plaintiff Moreno was driving to Elk Grove
 2   Subaru dealership for a basic vehicle service appointment when a chip appeared
 3   in her recently replaced Subaru windshield. She does not recall any debris hitting
 4   the windshield. That day, after the service appointment, she immediately drove
 5   the vehicle over to Safelite Auto Glass in Stockton, California and had the chip
 6   filled in at a cost of $75.
 7         31.     At all times, Plaintiff Moreno, like all Class Members, has driven
 8   her vehicle in a manner both foreseeable and in which it was intended to be used.
 9   Andrew Vierra
10         32.     Plaintiff Vierra is a California citizen who resides in Fullerton,
11   California.
12         33.     On May 26, 2019, Plaintiff Vierra purchased a new 2019 Subaru
13   Outback (VIN 4S4BSANC3K3333186) from Ocean Subaru in Fullerton,
14   California.
15         34.     Plaintiff Vierra purchased his vehicle primarily for personal, family,
16   or household use.
17         35.     Passenger safety and reliability were important factors in Plaintiff
18   Vierra’s decision to purchase his vehicle. He test drove a Subaru Outback at
19   Ocean Subaru. He spoke extensively with a salesperson at Ocean Subaru before
20   he purchased the vehicle from that dealership and read promotional brochures
21   about the vehicle at the dealership. He ran a Google search of the vehicle before
22   he purchased, and carefully reviewed information presented through the search
23   results. As a result of this search, he viewed Youtube Subaru Outback new car
24   video reviews, Subaru Outback videos posted by Consumer Reports, videos
25   posted by independent Subaru Outback owners, and videos posted by Subaru
26   itself. He had also seen Subaru television ads. Plaintiff Vierra believed that the
27   Outback would be a safe and reliable vehicle. When Plaintiff Vierra purchased
28   his vehicle, he was unaware that the vehicle’s windshield contained the Defect.
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 1         36.   Defendants’ omissions were material to Plaintiff Vierra. Had
 2   Defendants disclosed their knowledge of the Defect before he purchased her
 3   vehicle, Plaintiff Vierra would have seen and been aware of the disclosures.
 4   Furthermore, had he known of the Defect, Plaintiff Vierra would not have
 5   purchased her vehicle, or would have paid less for it.
 6   Specifically, on or around November 14, 2019, with approximately 10,500 miles
 7   on the odometer of his Subaru Outback, Plaintiff Vierra was driving his vehicle
 8   when he heard a popping sound, but saw no visual evidence of any impact. He
 9   later noticed a fishhook-shaped crack in the windshield behind the rear-view
10   mirror. Within several days, this crack extended to the middle of the driver’s side
11   of the windshield.
12         37.   Soon after the crack appeared, Plaintiff Vierra called Ocean Subaru
13   and he was told that the dealership would not repair his windshield under any
14   warranty. He then called his insurance provider who told him to have the
15   windshield replaced at All Star Glass and that he would be responsible to pay
16   $379 for the replacement.
17         38.   On November 18, 2019, Allstar Glass in La Habra, California sent
18   an agent to Vierra’s residence to repair his windshield. The agent inspected the
19   windshield and determined that it could not be done at that location and that it
20   needed to be taken to All Star Glass’ business location. Vierra scheduled an
21   appointment with All Star Glass for November 26, 2019.
22         39.   On November 26, 2019, Plaintiff Vierra took his vehicle to All Star
23   Glass in San Diego, California where his cracked windshield was replaced with a
24   new Subaru OEM windshield. He was to be charged $250 for the repair, which
25   was the amount of his insurance deductible. However, the windshield installation
26   technician could not properly calibrate the vehicle’s front view camera with the
27   new windshield and informed Vierra that a new windshield had to be ordered
28   and another service appointment scheduled for a second attempt at replacing the
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 1   windshield.
 2         40.     Upon information and belief, any replacement windshield supplied
 3   by Subaru will suffer from the same defect as the original windshield installed in
 4   Plaintiff Vierra’s Class Vehicle.
 5         41.     At all times, Plaintiff Vierra, like all Class Members, has driven his
 6   vehicle in a manner both foreseeable and in which it was intended to be used.
 7   Stephen Merman
 8         42.     Plaintiff Merman is a Colorado citizen who resides in Golden,
 9   Colorado.
10         43.     On July 15, 2019, Plaintiff Merman purchased a certified pre-owned
11   2018 Subaru Forester (VIN JF2SJAGC8JH5560641) from AutoNation Subaru
12   West in Golden, Colorado.
13         44.     Plaintiff Merman purchased his vehicle primarily for personal,
14   family, or household use.
15         45.     Passenger safety and reliability were important factors in Plaintiff
16   Merman’s decision to purchase his vehicle. He had directly previously owned a
17   2016 Subaru Outback and other Subarus before that and was familiar with the
18   brand. Before purchasing his vehicle, he test drove it and spoke extensively with
19   a salesperson at the dealership. He had also seen Subaru television ads. He also
20   inspected the Subaru pre-owned window sticker before purchasing. Plaintiff
21   Merman believed that the Forester would be a safe and reliable vehicle. When
22   Plaintiff Merman purchased his vehicle, he was unaware that the vehicle’s
23   windshield contained the Defect.
24         46.     Defendants’ omissions were material to Plaintiff Merman. Had
25   Defendants disclosed their knowledge of the Defect before he purchased his
26   vehicle, Plaintiff Merman would have seen and been aware of the disclosures.
27   Furthermore, had he known of the Defect, Plaintiff Merman would not have
28   purchased his vehicle, or would have paid less for it.
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 1         47.     Specifically, on October 26 or 27, 2019, with approximately 23,000
 2   miles on the odometer of his Subaru Forester, his life partner’s daughter was
 3   driving the vehicle with his life partner in the car when a crack occurred in the
 4   top left corner of the windshield. Neither his life partner nor her daughter heard
 5   or saw any debris hit the windshield. On October 28, 2019, he saw that the crack
 6   had spread from the top left corner of the windshield to the rear-view mirror area
 7   of the windshield.
 8         48.     During the week of October 28, 2019, Plaintiff Merman took the
 9   vehicle to AutoNation Subaru West dealership to complain about the windshield
10   crack and was told that his Subaru maintenance agreement did not cover
11   windshield replacement, that the dealership does not replace windshields, and
12   that he should have the windshield replaced at Safelite Auto Glass.
13         49.     On November 4, 2019, Plaintiff Merman took his vehicle to Safelite
14   Auto Glass in Lakewood, Colorado where his cracked windshield was replaced
15   with a new Subaru OEM windshield. The total cost of the replacement was $772,
16   of which he paid $500.00 for the repair, which was the amount of his insurance
17   deductible.
18         50.     Upon information and belief, the replacement windshield supplied
19   by Subaru suffered from the same defect as the original windshield installed in
20   Plaintiff Merman’s Class Vehicle.
21         51.     On November 13, 2019, Plaintiff Merman took his vehicle, which
22   had 25,638 miles at the time, to AutoNation Subaru West to recalibrate the
23   “EyeSight® Driver Assist Technology” feature with his new windshield. The
24   dealership charged him, and he paid, $220 for this recalibration.
25         52.     At all times, Plaintiff Merman, like all Class Members, has driven
26   his vehicle in a manner both foreseeable and in which it was intended to be used.
27   Defendant
28         53.     Defendant Fuji Heavy Industries Ltd. (“Fuji” or “FHI”) is a
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 1   Japanese corporation located at The Subaru Building, 1-7-2 Nishishinjuku,
 2   Shinjuku-ku, Tokyo, 160-8316, Japan. Defendant Fuji is responsible for the
 3   design, manufacturing, distribution, marketing, sales and service of Subaru
 4   vehicles, including the Vehicles, around the world, including in the United
 5   States.
 6         54.    Defendant Subaru of America, Inc. (“SOA”) is a New Jersey
 7   corporation with its principal place of business located in Cherry Hill, New
 8   Jersey.
 9         55.    SOA is the U.S. sales and marketing subsidiary of Fuji and wholly
10   owned subsidiary responsible for distribution, marketing, sales and service of
11   Subaru vehicles in the United States.
12         56.    Fuji and SOA (collectively “Subaru”) have common management.
13   Indeed, SOA’s sales, marketing and distribution efforts in the United States are
14   headed by corporate officers of Fuji. For example, Takeshi Tacihmori, the
15   chairman and CEO of SOA is also a Director and Corporate Executive Vice
16   President for Fuji in charge of the Subaru Global Marketing Division, Subaru
17   Japan Sales and Marketing Division and Subaru Overseas Sales and Marketing
18   Divisions 1 and 2. The incoming Chairman of SOA is also a Corporate Senior
19   Vice President of Fuji who is Chief General Manager of Subaru Overseas and
20   the Vice President in charge of Sales and Marketing, Division 1.
21         57.    Upon information and belief, Defendant Fuji communicates with
22   Defendant SOA concerning virtually all aspects of the Subaru products it
23   distributes within the United States.
24         58.    Upon information and belief, the design, manufacture, distribution,
25   service, repair, modification, installation and decisions regarding the engines
26   within the Vehicles were performed exclusively by Defendants.
27         59.    Upon information and belief, Defendants develop the owner’s
28   manuals, warranty booklets, and information included in maintenance
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 1   recommendations and/or schedules (including the oil change intervals) for the
 2   Vehicles.
 3         60.    At all relevant times, Defendants were and are engaged in the
 4   business of designing, manufacturing, constructing, assembling, marketing,
 5   distributing, and/or selling automobiles and motor vehicle components in Los
 6   Angeles County and throughout the United States of America.
 7                                    JURISDICTION
 8         61.    This is a class action.
 9         62.    Members of the proposed Class are citizens of states different from
10   the home state of Defendants.
11         63.    On information and belief, the aggregate claims of individual Class
12   Members exceed $5,000,000.00 in value, exclusive of interest and costs.
13         64.    Jurisdiction is proper in this Court pursuant to 28 U.S.C. § 1332(d).
14                                          VENUE
15         65.    Defendants, through their business of distributing, selling, and
16   leasing the Class Vehicles, has established sufficient contacts in this district such
17   that personal jurisdiction is appropriate. Defendants are deemed to reside in this
18   district pursuant to 28 U.S.C. § 1391(a).
19         66.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)
20   because Plaintiff Armstrong resides in the County of Los Angeles, California. In
21   addition, Plaintiff Armstrong’s Declaration, as required under California Civil
22   Code section 1780(d) but not pursuant to Erie and federal procedural rules,
23   reflects that a substantial part of the events or omissions giving rise to the claims
24   alleged herein occurred, or a substantial part of property that is the subject of this
25   action, is situated in Los Angeles County, California. It is attached as Exhibit 1.
26                             FACTUAL ALLEGATIONS
27         67.    For years, Defendants have designed, manufactured, distributed,
28   sold, and leased the Class Vehicles. Defendants have sold, directly or indirectly,
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 1   through dealers and other retail outlets, thousands of Class Vehicles in California
 2   and nationwide. Defendants warrant and service the Class Vehicles through their
 3   nationwide network of authorized dealers and service providers.
 4          68.     Defendants provided all purchasers and lessees of the Class
 5   Vehicles with a New Vehicle Limited Warranty (the “Warranty”) with the
 6   purchase or lease of the Class Vehicles.
 7          69.     The Warranty states in relevant part:
 8           2017 Warranty
 9           Below is a brief description of the Subaru Limited Warranty for 2017
     model year Subaru vehicles that is provided to each buyer by Subaru at no
10   additional charge. Your Subaru Dealer has complete details concerning the
     warranty and any exclusions and/or restrictions that may apply. Please visit your
11   nearest Subaru Dealer for this further information. Click here for optional
     extended protection beyond the warranty.
12
13         Who Makes These Warranties
           These warranties are made by SUBARU of America, Inc. ("SOA")[1],
14   One Subaru Drive, P.O. Box 9103, Camden, NJ 08101.

15           When These Warranties Apply
             These warranties only apply if the vehicle was imported or distributed by
16   SOA and sold to the first retail purchaser by an Authorized SUBARU Retailer in
     the United States. Any and all repairs must be performed by an Authorized
17   SUBARU Retailer located in the United States. Every owner of the vehicle
18   during the warranty period shall be entitled to the benefits of these warranties. If
     the vehicle is sold or otherwise transferred, it is recommended and requested that
19   the new owner promptly send written notice of the transfer of ownership to SOA
     at the address indicated above.
20
              Warranty Periods
21            Warranty coverage begins on the date the vehicle is delivered to the first
22   retail purchaser. If the vehicle was used as a demonstrator or company vehicle
     before being sold at retail, warranty coverage begins on the date the vehicle was
23   first placed in such service.

24          What is Covered
            These warranties cover any repairs needed to correct defects in material
25   or workmanship reported during the applicable warranty period and which occur
26   under normal use:
             In any part of the 2017 model year SUBARU which is identified on
27             the inside front cover of this Warranty & Maintenance Booklet(the
               "vehicle").
28           Any Genuine SUBARU Optional Accessories[2]
             In addition, adjustment services are Page
                                                    covered
                                                        13 one time only during the
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                  first 36 months/36,000 miles of operation, whichever comes first.
 1
 2          New Vehicle Limited Warranty
            BASIC COVERAGE is 3 years or 36,000 miles, whichever comes first.
 3   Subject to the exclusions listed in this warranty, it covers the entire vehicle.

 4          70.      The warranties and representations contained in the Warranty were
 5   and are material to Plaintiffs because Plaintiffs would not have purchased the
 6   Class Vehicle or would not have paid as much as they did if the windshield in his
 7   Class Vehicle were not covered by a full warranty.
 8          71.      The Defect causes the Class Vehicles’ front windshield to crack,
 9   chip and/or fracture for no reason at all and/or under circumstances that would
10   not cause nondefective windshields to similarly fail. The Defect presents a safety
11   hazard that renders the Class Vehicles unreasonably dangerous to consumers due
12   to, inter alia, the impact of the Defect on driver visibility, driver distraction, and
13   impairment of the EyeSight® safety system.
14          72.      Defendant issued Technical Service Bulletin (TSB) Number 12-192-
15   15R on October 26, 2016, revised on November 19, 2016, that sets forth the
16   same Defect as it existed in prior model years for two of the three Class Vehicles
17   at issue here and states the known cause of the Defect in 2015-2016 Legacy and
18   Outback models as follows: “Further investigation has determined the root cause
19   for many of these failures to be the ceramic materials used for the black-colored
20   printed perimeter combined with the silver-colored material used for the wiper
21   deicer portion of the windshield glass.” On information belief, this is at least one
22   cause of the Defect in the Class Vehicles.
23          73.      Plaintiffs are informed and believe and based thereon allege that
24   prior to the sale of the Class Vehicles, Defendants knew, or should have known,
25   about the Defect through their exclusive knowledge of non-public, internal data
26   about the Defect, including: pre-release testing data; early consumer complaints
27   about the Defect to Defendants’ dealers who are their agents for vehicle repairs;
28   aggregate data from Defendants’ dealers; consumer complaints to the NHTSA
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 1   and resulting notice from NHTSA; dealership repair orders; testing conducted in
 2   response to owner or lessee complaints; and other internal sources of aggregate
 3   information about the problem. Nevertheless, Defendants have actively
 4   concealed and failed to disclose this defect to Plaintiffs and Class Members at
 5   the time of purchase or lease and thereafter.
 6         74.    Furthermore, on information and belief, when vehicles are brought
 7   in for repair, Defendants’ dealers refuse to replace the defective windshields
 8   under warranty, often claiming that an impact caused the failure, notwithstanding
 9   the fact that the customer witnessed no impact and/or that any impact was so
10   slight it should not have caused the windshield to fail. On information and belief,
11   Defendants’ dealers’ systematic denial of valid warranty claims is part of a
12   concerted effort orchestrated by Defendants to minimize the cost of warranty
13   claims.
14         75.    Moreover, on information and belief, when consumers have their
15   windshields repaired, their defective windshields are merely replaced with
16   similarly defective windshields, so that their Class Vehicles are not actually
17   repaired.
18                     The Defect Poses a Serious Safety Concern
19         76.    The Defect is material to consumers because it presents a serious
20   safety concern. Class Members have repeatedly reported disturbing failures to
21   the National Highway Traffic Safety Administration (“NHTSA”). The following
22   are complaints reflecting the safety risk posed:
23         77.    On NHTSA’s website where consumer complaints about 2017
24   Subaru Outbacks are posted,3 the following incident posted on August 2, 2017
25   and dated July 27, 2017 was reported:
26
                  WINDOW CRACKED BUT WAS NOT HIT WITH
27                ANYTHING. CRACK APPEARED ON THE
                  DRIVERS SIDE, HALFWAY DOWN THE
28
           3
            https://www.nhtsa.gov/vehicle/2017/SUBARU/OUTBACK/SW/AWD
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                 WINDSHIELD, AND OBSTRUCTS VIEW OF THE
 1               DRIVER. CAR HAS LESS THAN 1600 MILES ON IT.
                 DEALER STATED IT WAS NOT COVERED AS A
 2               DEFECT AND WE ARE ON OWN OWN TO
                 REPLACE     IT.  THERE   ARE    NUMEROUS
 3               COMPLAINTS      OF    SUBARU     OUTBACK
                 WINDSHIELDS CRACKING BECAUSE THEY ARE
 4               TO THIN. DANGEROUS TO DRIVE DUE TO
                 VISIBILITY ISSUES.
 5
 6         78.   On NHTSA’s website where consumer complaints about 2018
 7   Subaru Outbacks are posted,4 the following incident posted on February 16, 2019
 8   and dated February 16, 2019 was reported:
 9               SECOND CRACKED WINDSHIELD IN ONE WEEK.
                 FIRST ONE WAS REPLACED 2/8/18. BOTH TIMES
10               TRAVELED AT LOW TO MODERATE SPEED 25-40
                 MPH ON LOCAL FWY IN LOS ANGELES, CA.
11               SUNNY MILD, DRY CONDITIONS, NO WIND.
                 SMALL PEBBLE HIT WINDSHIELD. COULDN’T
12               SEE HIT, ONLY HEARD A SMALL CRACK SOUND.
                 DAMAGED WINDSHIELD, FIRST TIME SMALL
13               PEBBLE MARK GREW TO LONG CRACK. INITIAL
                 IMPACT SIZE ABOUT 1.5 - 2 MM. ONE WEEK
14               LATER ANOTHER PEBBLE HIT WINDSHIELD IN
                 SLOW TRAFFIC,35 MPH, NO TRUCKS NEAR BY.
15               SAME SIZE OF MARK. SUBARU REQUIRES THEIR
                 WINDSHIELD REPAIR AT CUSTOMER COST OF
16               $930. WARRANTY DOES NOT COVER ANY
                 DEBRIS DAMAGE, BUT SMALL PEBBLES
17               SHOULD NOT CAUSE THIS KIND OF DAMAGE
                 AND COSTS. HAD A GRAND CHEROKEE 184K
18               MILES AND NEVER A CRACK OR DING, NEVER
                 ISSUE FOR OUR 2005 SAAB, OR ANY OREVIOUS
19               VEHICLE. SHOULD NOT COST US $1860 MONTH
                 ADDITIONAL TO MAINTAIN CAR, PLUS SAFETY
20               ISSUE. ACCORDING TO SUBARU CORPORATE:
                 DOES NOT RECOMMEND US TO DRIVE IT WITH
21               I-SITE    CAMERA    WITH    A   DAMAGED
                 WINDSHIELD. THEY SAY THAT THE GLASS IS
22               THINNER/LIGHTER IN ORDER TO WORK WITH
                 CAMERA       AND     BE    MORE      FUEL
23               EFFICIENT/LIGHTER. CARS SHOULD BE ABLE
                 TO WITHSTAND NORMAL DRIVING AND ROAD
24               CONDITIONS.
25
           79.   On NHTSA’s website where consumer complaints about 2019
26
27         4
              https://www.nhtsa.gov/vehicle/2018/SUBARU/OUTBACK/SW/AWD
28   (last viewed November 10, 2019).
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 1   Subaru Outbacks are posted,5 the following incident posted on January 24, 2019
 2   and dated January 7, 2019 was reported:
 3               THE CAR WAS NOT USED OVER THE WEEKEND
                 EXCEPT FOR A 5 MILE TRIP TO CHURCH WHERE
 4               IT DID NOT ENCOUNTER ANY ROCKS, HITS, ETC.
                 DROVE HOME AND THE CAR WINDSHIELD WAS
 5               FIND. THE NEXT MORNING WHEN I GOT INTO
                 THE CAR, AFTER I USED MY REMOTE TO START
 6               AND WARM UP MY OUTBACK, THERE WAS
                 ABOUT AN 8-10 INCH CRACK IN THE
 7               WINDSHIELD     THAT   ORIGINATED    FROM
                 BEYOND THE WINDSHIELD WIPER ON THE
 8               PASSENGER SIDE OF THE CAR. THE CRACK
                 GREW WORSE TO ABOUT 12 INCHES. CALLED
 9               SUBARU DEALER WHO DIRECTED ME TO THEIR
                 WINDSHIELD SERVICE AGENT. TOOK TIME OFF
10               FROM WORK AND THEY INSTALLED OEM
                 GLASS (INSURANCE COVERS THIS) AND
11               CALIBRATED     THE   WINDSHIELD.   AFTER
                 DRIVING HOME, THE CAR MADE WIND TUNNEL
12               NOISES, WINDSHIELD FLUID SYSTEM DID NOT
                 WORK, NAVIGATION DID NOT WORK SO I
13               BROUGHT THE CAR TO THE DEALER (TOOK
                 MORE TIME OFF FROM WORK). THEY FOUND A
14               LEAK IN THE WINDSHIELD, REPAIRED THE
                 FLUID UNIT AND IGNORED THE NAVIGATION
15               ISSUE. THEY SENT ME BACK TO THEIR AGENT.
                 THEY     TOOK    OUT    THE   WINDSHIELD
16               REPOSITIONED IT AND SENT ME ON MY WAY.
                 TODAY I FOUND PUDDLES OF WATER ON THE
17               FLOOR OF MY CAR (LEAK), NAVIGATION DOES
                 NOT WORK AND WIND TUNNEL NOISE IS STILL
18               THERE. THIS WINDSHIELD IS SUPPOSED TO
                 PROTECT THE DRIVER AND PASSENGER AS
19               EXTRA SUPPORT FOR THE ROOF, PREVENTION
                 OF OBJECTS FLYING AT YOU AND ALLOW FOR
20               THE EYESIGHT SYSTEM TO DO ITS JOB. THIS
                 CAR IS ONE MONTH OLD AND THE CRACK IN
21               THE WINDSHIELD EXPERIENCE SOUNDS
                 EERILY SIMILAR TO OTHERS' COMPLAINTS.
22               WHEN YOU PAY THE MONEY FOR A TOP SAFETY
                 PICK, YOU WANT THE SAFETY AND I DO NOT
23               HAVE IT.
24
           80.   On NHTSA’s website where consumer complaints about 2017
25
     Foresters are posted,6 the following incident dated March 21, 2018 was reported:
26
27         5
              https://www.nhtsa.gov/vehicle/2019/SUBARU/OUTBACK/SW/AWD
28   (last viewed November 10, 2019).
            6
              https://www.nhtsa.gov/vehicle/2017/SUBARU/FORESTER/SUV/AWD
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                  OWN A 2017 SUBARU FORESTER, WE HAVE LESS
 1                THAN 11,000 MILES AND LESS THAN ONE YEAR
                  OF OWNERSHIP. A SMALL STONE HITTING THE
 2                WINDSHIELD, QUICKLY ENDS UP IN A 24" TO 30"
                  LONG LINEAR CRACK UNLIKE MY OTHER TWO
 3                VEHICLES. WE ARE IN PROCESS OF REPLACING
                  3RD WINDSHIELD GLASS IN LESS THAN ONE
 4                YEAR. IT APPEARS THAT THERE MAY BE AN
                  OEM DEFECT. THIS LONG CRACK CREATES
 5                DANGER      VISION     PROBLEM.     EVERY
                  WINDSHIELD REPLACEMENT REQUIRES RE-
 6                CALIBRATION OF EYESIGHT TOO. THIS IS AN
                  ADDITIONAL BURDEN ON INSURANCE AS WELL
 7                AS OWNERS AND SHOULD BE ADDRESSED
                  ASAP. MANUFACTURER HAS NOT YET
 8                ACKNOWLEDGE        THE    EXISTENCE     OF
                  DEFECTIVE WINDSHIELD. WE REQUEST THAT
 9                CONSUMER PRODUCT RECALL INVESTIGATE
                  THIS ISSUE ASAP.
10
11         81.    The Defect presents a safety concern because it impairs the driver’s
12   visibility, impairing the driver’s ability to accurately see the road, signage, other
13   vehicles, and potential road hazards. In addition, the cracks are visually
14   distracting to the driver. Impaired visibility is unsafe at any time, particularly
15   when combined with bright sunlight or hazardous weather conditions and when
16   changing lanes, merging onto highways, making turns, and responding to
17   hazards or changing conditions on the road.
18         Defendants Had Superior and Exclusive Knowledge of the Defect
19         82.    Plaintiffs are informed and believe and based thereon allege that
20   prior to the sale of the Class Vehicles, Defendants knew, or should have known,
21   about the Defect through their exclusive knowledge of non-public, internal data
22   about the Defect, including: pre-release testing data; early consumer complaints
23   about the Defect to Defendants’ dealers who are their agents for vehicle repairs;
24   aggregate data from Defendants’ dealers; consumer complaints to the NHTSA
25   and resulting notice from NHTSA; dealership repair orders; testing conducted in
26   response to owner or lessee complaints; Technical Service Bulletins issued for a
27   cracked windshield defect on 2015-2016 Subaru Legacy and Outback models;
28   and other internal sources of aggregate information about the problem.
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 1         a.     Numerous Consumer Complaints on the NHTSA Demonstrate That
                  Defendants Aware of the Defect.
 2
           83.    Federal law requires automakers like Defendants to be in close
 3
     contact with NHTSA regarding potential auto defects, including imposing a legal
 4
     requirement (backed by criminal penalties) compelling the confidential
 5
     disclosure of defects and related data by automakers to NHTSA, including field
 6
     reports, customer complaints, and warranty data. See TREAD Act, Pub. L. No.
 7
     106-414, 114 Stat.1800 (2000).
 8
           84.    Automakers have a legal obligation to identify and report emerging
 9
     safety-related defects to NHTSA under the Early Warning Report requirements.
10
     Id. Similarly, automakers monitor NHTSA databases for consumer complaints
11
     regarding their automobiles as part of their ongoing obligation to identify
12
     potential defects in their vehicles, including those which are safety-related. Id.
13
     Thus, Defendants knew or should have known of the many complaints about the
14
     Defect logged by NHTSA ODI. The content, consistency, and disproportionate
15
     number of those complaints alerted, or should have alerted, Defendants to the
16
     Defect.
17
           85.    With respect solely to the Class Vehicles, the following are but a
18
     few examples of the many complaints concerning the Defect which are available
19
     through NHTSA’s website, www.safercar.gov. Many of the complaints reveal
20
     that Defendants, through their network of dealers and repair technicians, have
21
     been made aware of the Defect. In addition, the complaints indicate that despite
22
     having knowledge of the Defect and even armed with knowledge of the exact
23
     vehicles affected, Defendants often refused to diagnose the defect or otherwise
24
     attempt to repair it while Class Vehicles were still under warranty. When
25
     Defendants did attempt repairs, it merely replaced the windshields with similarly
26
     defective windshields.
27
           86.    On NHTSA’s website where consumer complaints about 2017
28
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 1   Subaru Outbacks are posted,7 the following incident posted on December 20,
 2   2016 and dated February 11, 2017 was reported:
 3               STAR CRACK IN WINDSHIELD DISCOVERED
                 STATIONARY (IN CARPORT) THE DAY AFTER
 4               PURCHASING THE VEHICLE (ODOMETER
                 READING 200 MILES). LOCATION OF CRACK
 5               SLIGHTLY    ABOVE   WIPER    BLADE    ON
                 PASSENGER SIDE. IMPACT STRIKE THE SIZE OF
 6               A PINHEAD. THE DAMAGE IS CHARACTERISTIC
                 OF PRIOR MODEL YEARS 2015 AND 2016 IN
 7               WHICH THE MANUFACTURER INITIATED
                 RECALLS. IT IS APPARENT THIS PROBLEM
 8               CONTINUES AND HAS YET TO BE RESOLVED.
 9
           87.   On July 10, 2017 the following incident dated June 14, 2017 was
10
     reported:
11               OUR WINDSHIELD BEGAN SLOWLY CRACKING
                 STARTING AT THE BASE OF THE DRIVER SIDE
12               FRONT WINDOW. IT BEGAN AT THE BOTTOM
                 EDGE (HEAT STRIP) AND MOVED HALF UP THE
13               WINDSHIELD BEFORE WE REPLACED. COST $569
                 FOR OEM WINDSHIELD. SUBARU DEALER
14               DENIED THE WARRANTY CLAIM, WHILE
                 ADMITTING A PROBLEM WITH EARLIER
15               VERSIONS THAT YEAR'S OUTBACK.
16
           88.   On August 2, 2017, the following incident dated July 27, 2017 was
17
     reported:
18               WINDOW CRACKED BUT WAS NOT HIT WITH
                 ANYTHING. CRACK APPEARED ON THE
19               DRIVERS SIDE, HALFWAY DOWN THE
                 WINDSHIELD, AND OBSTRUCTS VIEW OF THE
20               DRIVER. CAR HAS LESS THAN 1600 MILES ON IT.
                 DEALER STATED IT WAS NOT COVERED AS A
21               DEFECT AND WE ARE ON OWN OWN TO
                 REPLACE     IT.  THERE   ARE    NUMEROUS
22               COMPLAINTS      OF    SUBARU     OUTBACK
                 WINDSHIELDS CRACKING BECAUSE THEY ARE
23               TO THIN. DANGEROUS TO DRIVE DUE TO
                 VISIBILITY ISSUES.
24
25         89.   On October 5, 2017, the following incident dated September 28,
26   2017 was reported:
27               PURCHASED    A   2015  OUTBACK     AND
                 EXPERIENCED 4 CRACKED WINDSHIELDS IN AN
28
           7
            https://www.nhtsa.gov/vehicle/2017/SUBARU/OUTBACK/SW/AWD
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                 18 MONTH PERIOD. TRADED THE CAR IN FOR A
 1               2017 OUTBACK HOPING THEY FIXED THE
                 DESIGN FLAW. NOW 6 MONTHS AFTER 2017
 2               OUTBACK PURCHASE AN OUTRAGEOUS CRACK
                 FORMED ON THIS NEW VEHICLE. ALL 5 CRACKS
 3               BEGAN NOT FURTHER THAN 2 TO 3 INCHES
                 FROM   THE    FRAME.  SO    5   CRACKED
 4               WINDSHIELDS IN A 2 YEAR PERIOD FROM
                 SUBARU OUTBACK.
 5
                 AUTOMOBILES.     THE   DEALERSHIP    AND
 6               MANUFACTURER          NEVER        WOULD
                 ACKNOWLEDGE THAT THERE ARE SO MANY
 7               OTHER PEOPLE EXPERIENCING THIS PROBLEM.
                 SOMETIMES THE CRACK WOULD APPEAR
 8               SPONTANEOUSLY, SOMETIMES IT ACTUALLY
                 SOUNDED     LIKE    CRACKLING     SOUNDS
 9               HAPPENING IN FRAME AND MAYBE (?) ONE
                 TIME THERE MIGHT HAVE BEEN A SMALL
10               PEBBLE HIT THE WINDSHIELD. TWICE I WASN'T
                 EVEN DRIVING THE VEHICLE. IMPEDES VISION.
11               DISTRACTS DRIVER.
12
           90.   On October 19, 2017, the following incident dated October 17, 2017
13
     was reported:
14
                 I VERY SMALL ROCK CHIP HIT MY WINDSHIELD
15               INITIALLY CAUSING AN 8 INCH CRACK AND IS
                 NOW OVER TWO FEET LONG. THE CHIP DID NOT
16               EVEN LEAVE AN IMPACT MARK; IF YOU TRIED
                 RIGHT NOW TO SEE WHERE THE CRACK
17               STARTED YOU WOULD NOT BE ABLE TO. I
                 REVIEWED FORUMS ONLINE AND HAVE SEEN
18               NUMEROUS COMPLAINTS ABOUT OUTBACK
                 WINDSHIELDS. WEAK OR CHEAP IS HOW THEY
19               WERE OFTEN DESCRIBED. THIS WAS A VERY
                 SMALL ROCK CHIP THAT HIT MY WINDSHIELD.
20               THIS AMOUNT OF DAMAGE SHOULD NOT HAVE
                 HAPPENED. I AGREE WITH THE FORUMS; WEAK
21               AND CHEAP. I SEE THERE IS EVEN A CLASS
                 ACTION LAWSUIT AGAINST SUBARU.
22
23         91.   On NHTSA’s website where consumer complaints about 2018
24   Subaru Outbacks are posted,8 the following incident posted on April 29, 2018
25   and dated April 28, 2018 was reported:
26               WINDSHIELD DEVELOPED CRACKED, LOWER
                 MID AREA EXTENDED UPWARD ABOUT 12
27               INCHES. VEHICLE WAS STATIONARY, PARKED.
28         8
              https://www.nhtsa.gov/vehicle/2018/SUBARU/OUTBACK/SW/AWD
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                 WAS NOT HIT BY ANY ROAD DEBRIS. NOTICED
 1               DEFECT WHEN STARTING CAR.
 2
           92.   On May 22, 2018, the following incident dated May 18, 2018 was
 3
     reported:
 4
                 WINDSHIELD EASILY CRACKS - WE HAVE HAD
 5               OUR 2018 OUTBACK FOR LESS THAN 6 MONTHS
                 AND LESS THAN 5000 MILES AND HAVE HAD 3
 6               WINDSHIELDS DEVELOP SEVERE CRACKING.
                 THE FIRST TWO WERE REPLACED WITH
 7               FACTORY WINDSHIELDS BY PROFESSIONAL
                 INSTALLERS. THE SLIGHTEST IMPACT, THE
 8               LAST TWO BEING BARELY PERCEIVABLE,
                 RESULTS IN AN ELONGATED CRACK FORMING.
 9               WITH FOUR VEHICLES IN OUR HOUSEHOLD, WE
                 HAVE ONLY HAD 2 WINDSHIELDS REPLACED IN
10               14 YEARS SINCE MOVING TO THIS AREA SO
                 HAVE RULED OUT BAD LUCK OR DRIVING
11               HABIT.   SUBARU    (BOTH   DEALER   AND
                 CORPORATE) HAVE BEEN UNRESPONSIVE. THE
12               CURRENT CRACKING AND STAR FORMED
                 AFTER A BARELY AUDIBLE IMPACT. THE STAR
13               GREW AND IS NOW CRUMBLING IN THE CENTER
                 WITH 3 FRACTURE LINES EXTENDING FROM IT.
14
                 FIRST INCIDENT - ON I-17 WHILE PASSING A
15               SEMI APPROX SPEED 75 MPH
16               SECOND INCIDENT - ON AZ 69 IN NORMAL
                 TRAFFIC APPOX SPEED 45 MPH
17
                 THIRD INCIDENT - ON I-17 WHILE FOLLOWING A
18               VEHICLE USING ISIGHT DYNAMIC CRUISE
                 CONTROL APPROX SPEED 75 MPH
19
                 FIRST TWO CLAIMS COVERED BY INSURANCE
20               WHICH WE ATTRIBUTED TO BAD LUCK. THIRD
                 INCIDENT IN SO FEW MONTHS/MILES SEEMS TO
21               POINT TO QUALITY/DESIGN ISSUE SINCE
                 OTHER VEHICLES (PAST AND PRESENT) HAVE
22               NEVER DEVELOPED THIS SEVERE CRACKING
                 (PICTURE PROVIDED) WHICH PROMPTED THIS
23               COMPLAINT.
24
           93.   On July 26, 2018, the following incident dated July 11, 2018 was
25
     reported:
26
                 DRIVING INTERSTATE, 65MPH, SMALL OBJECT
27               THROWN FROM ANOTHER VEHICLE HIT MY
                 WINDSHIELD ON THE LEFT EDGE. SHORT
28               CRACKS APPEARED IMMEDIATELY. TWO
                 SPREAD ALL THE WAY TO THE REAR VIEW
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                 MIRROR AREA WITHIN DAYS. VEHICLE IS ONLY
 1               TWO MONTHS OLD.
 2
           94.   On December 17, 2018, the following incident dated December 16,
 3
     2018 was reported:
 4
                 MY WINDSHIELD IS CRACKED FOR THE 2ND
 5               TIME NOW IN ITS FIRST YEAR OF OWNERSHIP.
                 THE FIRST TIME IT CRACKED IT WAS BECAUSE
 6               OF A PEBBLE STRIKE FROM THE ROAD.
                 EXTREMELY SMALL FRAGMENT STRUCK THE
 7               GLASS, MADE A POCK MARK, AND THE
                 WINDSHIELD WAS REPLACED. TODAY, LESS
 8               THAN A MONTH LATER A NEW CRACK
                 APPEARED WHILE DRIVING WITHOUT ANY
 9               STRIKE FROM AN OBJECT. SUBARU DEALER
                 CLAIMS IT WAS STRUCK BUT FIND A CRACK
10               ONLY WITHOUT ANY POINT ALONG IT OF AN
                 IMPACT MAKES ME VERY VERY SUSPICIOUS.
11               NOW I HAVE TO WAIT FOR THE INSURANCE
                 COMPANY TO SETTLE ON CHARGES AND SEND
12               A CHECK BEFORE THE NEXT WINDSHIELD CAN
                 BE APPLIED. MY WIFE AND I WERE CALMLY
13               DRIVING ON COMPLETELY PAVED ROADS
                 WHEN WE BOTH WATCHED THE CRACK APPEAR
14               AND GROW DURING OUR DRIVE. :-( I HAVE
                 DRIVEN FOR 50+ YEARS, AND OWNED 20+ CARS.
15               I'VE NEVER HAD THIS HAPPEN.
16
           95.   On December 21, 2018, the following incident dated December 20,
17
     2018 was reported:
18
                 2 WINDSHIELD CRACKS IN LOWER PORTION OF
19               WINDSHIELD    DURING    1ST  YEAR    OF
                 OWNERSHIP. BOTH CRACKS OCCURRED WHILE
20               DRIVING AROUND TOWN ~35 MPH, ONCE
                 DURING A 100 DEGF SUMMER DAY, AND THE
21               OTHER DURING A 40 DEGF RAINY WINTER
                 MORNING. INSPECTION OF CRACK AFTER
22               STOPPING SHOWED POSSIBLE ORIGINATION
                 FROM ~1MM CHIPS.
23
                 DURING THE SUMMER, THE FIRST CHIP,
24               LOCATED IN THE DE-ICER AREA, GREW
                 RAPIDLY TO A CRACK ACROSS THE
25               WINDSHIELD WITH A LOUD 'POP' SOUND AFTER
                 THE AIR CONDITIONER WAS TURNED ON HIGH
26               USING DEFROSTER AIR MODE. SUBARU OF
                 AMERICA (NOT THE DEALER) REPLACED THE
27               WINDSHIELD    AND   RECALIBRATED     THE
                 EYESIGHT SYSTEM AS A 'GOODWILL' REPAIR.
28
                 DURING      THE     WINTER,         ANOTHER    CHIP
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                 BETWEEN THE VIN# DISPLAY WINDOW AND
 1               THE PERIMETER OF THE LOWER WINDSHIELD
                 EXPLOSIVELY GREW TO A CRACK WHEN
 2               HEATED DEFROSTER AIR WAS ACTIVATED.
                 REPAIR PENDING.
 3
                 MAIN CONCERN IS THE FRAGILE NATURE AND
 4               TEMPERATURE DEPENDANCE OF THIS GLASS
                 TEMPER,   ESPECIALLY     NEAR   WINDOW
 5               BOUNDARY     CONDITIONS    AND   WHERE
                 DEFROSTER AIR IS THE STRONGEST.
 6
                 OVER 20 YEARS OF DRIVING OTHER VEHICLES
 7               ON THE SAME ROUTE HAVE CAUSED LITTLE
                 CHIPS ON OTHER WINDSHIELDS, BUT NEVER
 8               HAS A CHIP GROWN INTO A CRACK, WITH OR
                 WITHOUT HOT OR COLD DEFROSTER AIR
 9               HITTING IT. I SUSPECT THAT THE THICKNESS
                 AND TEMPER OF THE LATEST GENERATION OF
10               OUTBACK      CARLEX   WINDSHIELDS   WILL
                 CONTINUE TO CAUSE ISSUES SIMILAR TO TSB#
11               12-192-15R.
12
           96.   On January 17, 2019, the following incident dated January 17, 2019
13
     was reported:
14
                 A TINY PEBBLE STRUCK THE WINDSHIELD ON
15               THE INTERSTATE, BUT IT SUDDENLY GREW TO
                 A CRACK APPROXIMATELY 6 INCHES LONG.
16               NEVER HAD THIS PROBLEM BEFORE, AND MY
                 CAR IS FAIRLY NEW ON THE ROAD (LESS THAN
17               8,000 MILES, BOUGHT IN JULY, 2018). DEEPLY
                 CONCERNED THAT SUBARU STILL HAS NOT
18               FIGURED OUT ITS NOTORIOUS WINDSHIELD-
                 RELIABILITY     PROBLEM      THAT      HAS
19               FRUSTRATED       SO     MANY       DRIVERS
                 THROUGHOUT THE PAST 5 YEARS.
20
21         97.   On February 16, 2019, the following incident dated February 16,
22   2019 was reported:
23               SECOND CRACKED WINDSHIELD IN ONE WEEK.
                 FIRST ONE WAS REPLACED 2/8/18. BOTH TIMES
24               TRAVELED AT LOW TO MODERATE SPEED 25-40
                 MPH ON LOCAL FWY IN LOS ANGELES, CA.
25               SUNNY MILD, DRY CONDITIONS, NO WIND.
                 SMALL PEBBLE HIT WINDSHIELD. COULDN’T
26               SEE HIT, ONLY HEARD A SMALL CRACK SOUND.
                 DAMAGED WINDSHIELD, FIRST TIME SMALL
27               PEBBLE MARK GREW TO LONG CRACK. INITIAL
                 IMPACT SIZE ABOUT 1.5 - 2 MM. ONE WEEK
28               LATER ANOTHER PEBBLE HIT WINDSHIELD IN
                 SLOW TRAFFIC,35 MPH, NO TRUCKS NEAR BY.
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                 SAME SIZE OF MARK. SUBARU REQUIRES THEIR
 1               WINDSHIELD REPAIR AT CUSTOMER COST OF
                 $930. WARRANTY DOES NOT COVER ANY
 2               DEBRIS DAMAGE, BUT SMALL PEBBLES
                 SHOULD NOT CAUSE THIS KIND OF DAMAGE
 3               AND COSTS. HAD A GRAND CHEROKEE 184K
                 MILES AND NEVER A CRACK OR DING, NEVER
 4               ISSUE FOR OUR 2005 SAAB, OR ANY OREVIOUS
                 VEHICLE. SHOULD NOT COST US $1860 MONTH
 5               ADDITIONAL TO MAINTAIN CAR, PLUS SAFETY
                 ISSUE. ACCORDING TO SUBARU CORPORATE:
 6               DOES NOT RECOMMEND US TO DRIVE IT WITH
                 I-SITE  CAMERA      WITH    A   DAMAGED
 7               WINDSHIELD. THEY SAY THAT THE GLASS IS
                 THINNER/LIGHTER IN ORDER TO WORK WITH
 8               CAMERA       AND     BE    MORE     FUEL
                 EFFICIENT/LIGHTER. CARS SHOULD BE ABLE
 9               TO WITHSTAND NORMAL DRIVING AND ROAD
                 CONDITIONS.
10
11         98.   On NHTSA’s website where consumer complaints about 2019
12   Subaru Outbacks are posted,9 the following incident posted on January 24, 2019
13   and dated January 7, 2019 was reported:
14               THE CAR WAS NOT USED OVER THE WEEKEND
                 EXCEPT FOR A 5 MILE TRIP TO CHURCH WHERE
15               IT DID NOT ENCOUNTER ANY ROCKS, HITS, ETC.
                 DROVE HOME AND THE CAR WINDSHIELD WAS
16               FIND. THE NEXT MORNING WHEN I GOT INTO
                 THE CAR, AFTER I USED MY REMOTE TO START
17               AND WARM UP MY OUTBACK, THERE WAS
                 ABOUT AN 8-10 INCH CRACK IN THE
18               WINDSHIELD     THAT   ORIGINATED    FROM
                 BEYOND THE WINDSHIELD WIPER ON THE
19               PASSENGER SIDE OF THE CAR. THE CRACK
                 GREW WORSE TO ABOUT 12 INCHES. CALLED
20               SUBARU DEALER WHO DIRECTED ME TO THEIR
                 WINDSHIELD SERVICE AGENT. TOOK TIME OFF
21               FROM WORK AND THEY INSTALLED OEM
                 GLASS (INSURANCE COVERS THIS) AND
22               CALIBRATED     THE   WINDSHIELD.   AFTER
                 DRIVING HOME, THE CAR MADE WIND TUNNEL
23               NOISES, WINDSHIELD FLUID SYSTEM DID NOT
                 WORK, NAVIGATION DID NOT WORK SO I
24               BROUGHT THE CAR TO THE DEALER (TOOK
                 MORE TIME OFF FROM WORK). THEY FOUND A
25               LEAK IN THE WINDSHIELD, REPAIRED THE
                 FLUID UNIT AND IGNORED THE NAVIGATION
26               ISSUE. THEY SENT ME BACK TO THEIR AGENT.
                 THEY     TOOK    OUT    THE   WINDSHIELD
27               REPOSITIONED IT AND SENT ME ON MY WAY.
28         9
              https://www.nhtsa.gov/vehicle/2019/SUBARU/OUTBACK/SW/AWD
     (last viewed November 10, 2019).
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                 TODAY I FOUND PUDDLES OF WATER ON THE
 1               FLOOR OF MY CAR (LEAK), NAVIGATION DOES
                 NOT WORK AND WIND TUNNEL NOISE IS STILL
 2               THERE. THIS WINDSHIELD IS SUPPOSED TO
                 PROTECT THE DRIVER AND PASSENGER AS
 3               EXTRA SUPPORT FOR THE ROOF, PREVENTION
                 OF OBJECTS FLYING AT YOU AND ALLOW FOR
 4               THE EYESIGHT SYSTEM TO DO ITS JOB. THIS
                 CAR IS ONE MONTH OLD AND THE CRACK IN
 5               THE WINDSHIELD EXPERIENCE SOUNDS
                 EERILY SIMILAR TO OTHERS' COMPLAINTS.
 6               WHEN YOU PAY THE MONEY FOR A TOP SAFETY
                 PICK, YOU WANT THE SAFETY AND I DO NOT
 7               HAVE IT.
 8
           99.   On January 11, 2019, the following incident dated February 15,
 9
     2019 was reported:
10
                 WINDSHIELD SPONTANEOUSLY CRACKED AT
11               THE BASE OF THE WINDSHIELD, UNDER THE
                 WIPER BLADE WHILE DRIVING ON THE
12               HIGHWAY. I WAS NOT FOLLOWING ANY
                 VEHICLES SO A ROCK CHIP COULD NOT BE THE
13               CAUSE. THIS IS POOR WINDSHIELD QUALITY
                 AND DESIGN BY SUBARU.
14
15         100. On April 10, 2019, the following incident dated March 27, 2019 was
16   reported:
17               ON TWO SEPARATE OCCASIONS, SOMETHING
                 WAS KICKED UP AND HIT THE WINDSHIELD OF
18               THE VEHICLE. BOTH TIME AN IMMEDIATE
                 CRACK       WAS   SENT   THROUGHT      THE
19               WINDSHIELD. BOTH TIMES WERE ON AN
                 HIGHWAY, TRAVELING ABOUT 45MPH. I HAVE
20               HAD THINGS POP UP AND HIT MY WINDSHIELD
                 IN OTHER VEHICLES AND MAYBE THEY JUST
21               CHILL OR STAR . I FEEL THERE IS A
                 SIGNIFICANT DIFFERENCE IN THE STRENGTH
22               OF THE GLASS THAT IS USED, IN THIS VEHICLE
                 I FEEL IT IS EXTREMELY WEAK.
23
24         101. On April 12, 2019, the following incident dated April 10, 2019 was
25   reported:
26               ON 4/10/19 AS I WAS GETTING INTO MY CAR, I
                 NOTICED A HUGE CRACK ON MY DRIVER SIDE
27               OF THE WINDSHIELD THAT STARTS FROM THE
                 BASE RUNNING TOWARD THE CENTER OF THE
28               WINDSHIELD. THE CAR WAS BOUGHT ON JAN
                 20TH OF 2019 AND HAS 4200 MILES. CALLED
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                 SAFELITE AND THEY ARE ESTIMATING $1300+
 1               TO REPLACE.
 2
           102. On April 19, 2019, the following incident dated April 17, 2019 was
 3
     reported:
 4
                 MY CONCERN IS WITH THE QUALITY AND
 5               SAFETY OF THE WINDSHIELD ON THE 2019
                 SUBARU OUTBACK. I PURCHASED A 2019
 6               SUBARU OUTBACK ON 12/31/18. IT NOW HAS
                 3200 MILES ON IT. ON 04/17/19 I NOTICED AN 8-10
 7               INCH CRACK IN THE WINDSHIELD. THERE WAS
                 A VERY SMALL, BARELY NOTICEABLE, CHIP
 8               WITHIN THE CRACK. AT NO TIME DID I HEAR
                 ANYTHING HIT THE WINDSHIELD WHILE
 9               DRIVING.      THEREFORE,         A   CRACKED
                 WINDSHIELD WAS SHOCKING AND ENTIRELY
10               UNEXPECTED FROM SUCH MINIMAL CONTACT
                 WITH THE WINDSHIELD. WHEN THE CAR IS NOT
11               IN USE IT IS GARAGE KEPT. MY COMMUTE HAS
                 NOT CHANGED SINCE BUYING THIS CAR AND I
12               HAVE NEVER HAD A CAR WINDSHIELD CRACK
                 IN OVER 30 YEARS OF DRIVING. DUE TO THE
13               SIZE OF THE CRACK, THE ENTIRE WINDSHIELD
                 MUST BE REPLACED AND THE SUBARU
14               "EYESIGHT" SYSTEM RE-CALIBRATED. IT IS MY
                 OPINION THAT THE WINDSHIELD SHOULD NOT
15               HAVE CRACKED IN THIS SITUATION. A SIMPLE
                 GOOGLE SEARCH INDICATES THAT OTHERS
16               HAVE CONCERNS WITH THE 2019 SUBARU
                 OUTBACK WINDSHIELD.
17
18         103. On NHTSA’s website where consumer complaints about 2017
19   Subaru Foresters are posted,10 the following incident posted on February 10,
20   2018 and dated January 26, 2018 was reported:
21               THE WINDSHIELD SPONTANEOUSLY CRACKED,
                 MIDDLE PASSENGER SIDE (NOT AWARE WHEN
22               IT HAPPENED. ONE TIME CAME OUT INTO THE
                 GARAGE AND NOTICED IT WAS CRACKED). IT
23               ALSO WAS SEVERELY CHIPPED ONE TIME
                 BEFORE (2500 MILES). SO IT HAS HAD TO BE
24               REPLACED 2 TIMES WITHIN 16,000 MILES AND
                 LESS THAN ONE YEAR OWNERSHIP.
25
26         104. On February 22, 2018, the following incident dated February 12,
27   2018 was reported:
28         10
              https://www.nhtsa.gov/vehicle/2017/SUBARU/FORESTER/SUV/AWD
     (last viewed November 10, 2019).
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                 WHILE DRIVING SUBARU FORESTER 2017, A
 1               SMALL ROCK HIT THE WINDSHIELD AND
                 SMALL CRACK QUICKLY TURNED INTO 24" TO
 2               30" LONG LINEAR CRACK AND AS A RESULT
                 ENDED UP REPLACING WIND SHIELD GLASS
 3               AND RE-CALIBRATION OF EYESIGHT. THIS
                 HAPPENED TWICE IN LAST 8 MONTHS. IT
 4               APPEARS TO BE AN OEM ISSUE. UNLIKE MY
                 OTHER TWO VEHICLES, THEY HAD SIMILAR
 5               ISSUE HOWEVER THE CRACK WAS SHIELD BY
                 PROFESSIONALS AND NEVER DEVELOPED
 6               LINEAR CRACK.
 7
           105. On March 21, 2018, the following incident dated March 21, 2018
 8
     was reported:
 9
                 OWN A 2017 SUBARU FORESTER, WE HAVE LESS
10               THAN 11,000 MILES AND LESS THAN ONE YEAR
                 OF OWNERSHIP. A SMALL STONE HITTING THE
11               WINDSHIELD, QUICKLY ENDS UP IN A 24" TO 30"
                 LONG LINEAR CRACK UNLIKE MY OTHER TWO
12               VEHICLES. WE ARE IN PROCESS OF REPLACING
                 3RD WINDSHIELD GLASS IN LESS THAN ONE
13               YEAR. IT APPEARS THAT THERE MAY BE AN
                 OEM DEFECT. THIS LONG CRACK CREATES
14               DANGER      VISION     PROBLEM.     EVERY
                 WINDSHIELD REPLACEMENT REQUIRES RE-
15               CALIBRATION OF EYESIGHT TOO. THIS IS AN
                 ADDITIONAL BURDEN ON INSURANCE AS WELL
16               AS OWNERS AND SHOULD BE ADDRESSED
                 ASAP. MANUFACTURER HAS NOT YET
17               ACKNOWLEDGE        THE    EXISTENCE     OF
                 DEFECTIVE WINDSHIELD. WE REQUEST THAT
18               CONSUMER PRODUCT RECALL INVESTIGATE
                 THIS ISSUE ASAP.
19
20         106. On NHTSA’s website where consumer complaints about 2018
21   Subaru Foresters are posted,11 the following incident posted on September 7,
22   2018 and dated September 4, 2018 was reported:
23               WINDSHIELD CRACKED ALL THE WAY ACROSS
                 FROM THE TINIEST LITTLE DING FROM A ROCK.
24
25         107. On November 2, 2018, the following incident dated September 1,
26   2018 was reported:
27               THE WINDSHIELD SIMPLY CRACKED UNDER
28         11
              https://www.nhtsa.gov/vehicle/2018/SUBARU/FORESTER/SUV/AWD
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                 THE PASSENGER WIPER AND QUICKLY SPREAD
 1               ACROSS THE WINDSHIELD. THERE WAS NO
                 VIABLE   IMPACT   AND    IT  APPEARED
 2               OVERNIGHT. THIS HAPPENED IN EARLY
                 SEPTEMBER AND WE ARE STILL WAITING FOR
 3               AN OEM REPLACEMENT FROM SUBARU.
 4
           108. On March 17, 2019, the following incident dated December 21,
 5
     2018 was reported:
 6
                 I PURCHASED THIS CAR 7/31/18. ON 12/21/18
 7               (ODOMETER 3,427 MILES), THE FIRST MORNING
                 WITH A HARD FROST, I FOUND THAT MY 2018
 8               SUBARU      FORESTER   (STATIONARY    AND
                 PARKED IN MY DRIVEWAY) HAD DEVELOPED A
 9               CRACK OVERNIGHT FROM THE LOWER LEFT
                 CORNER OF THE DRIVER'S SIDE UPWARD. (NO
10               CRACK THE DAY BEFORE) I DROVE THE CAR 3
                 MILES TO WORK, CALLED THE DEALERSHIP
11               WHERE I PURCHASED IT, AND SCHEDULED A
                 SERVICE        MANAGER         EVALUATION
12               APPOINTMENT THAT MORNING. I DROVE 12
                 MORE MILES TO THE DEALERSHIP. IN UNDER 3
13               HOURS, DRIVING TOTAL 15 MILES, SINCE
                 DISCOVERING THE CRACK AND ARRIVING AT
14               THE     DEALERSHIP,   THE    CRACK    HAD
                 PROGRESSED UP AND ACROSS THE DRIVER'S
15               SIDE OF THE WINDSHIELD. THE SERVICE
                 MANAGER AGREED TO REPLACE THE
16               WINDSHIELD AT NO COST TO ME, "AS A ONE-
                 TIME GOOD WILL GESTURE". HE POINTED TO
17               THE BASE OF THE CRACK WHICH BEGAN AT
                 THE BOTTOM OF THE BLACK AREA BORDERING
18               THE BASE OF THE WINDSHIELD, CLAIMED HE
                 COULD SEE A CHIP, AND DUG HIS PEN INTO THE
19               GLASS TO ENLARGE THE CRACK. TO ME, THIS
                 ARE LOOKED MORE A FLAW IN THE GLASS
20               WHERE BROKEN WINDSHIELD MAY HAVE HAD
                 A FLAW HAD FLEXED DUE TO THE FREEZING
21               WEATHER. HE DESCRIBED THE DAMAGE AS A
                 CHIP ON MY REPAIR TICKET, WHICH IS
22               MISLEADING IF AN ANALYSIS IS DONE ON THE
                 CRACK, BUT IT SUPPORTS THE TICKET'S NOTE
23               THAT THIS WAS A 1-TIME REPAIR AT NO
                 CHARGE, WITH NO GUARANTEE OF FUTURE
24               SIMILAR REPAIRS. THE DEALER DELAYED THE
                 REPAIR DUE TO CHRISTMAS, AND THE CRACK
25               CONTINUED TO PROGRESS ACROSS THE
                 WINDSHIELD. REPLACEMENT INSTALLATION
26               SCHEDULED FOR 12/26/18. ARRIVING FOR MY
                 APPOINTMENT I WAS TOLD THE WINDSHIELD
27               WAS ORDERED BUT THE DEALER FAILED TO
                 SCHEDULE AN INSTALLER. THEY KEPT MY CAR
28               UNTIL THE REPAIR WAS COMPLETED ON
                 12/28/19. THEY PROVIDED A LOANER CAR.
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                 RESEARCHING SUBARU WINDSHIELD CRACKS
 1               ONLINE,    I   LEARNED   THAT     SUBARU
                 WINDSHIELDS HAVE A PROBLEM WITH
 2               SPONTANEOUSLY      CRACKING,  BEGINNING
                 WITH A 2016 OUTBACK RECALL, BUT FORESTER
 3               OWNERS ALSO ARE REPORTING CRACKS.
 4
           109. On March 18, 2019, the following incident dated March 13, 2019
 5
     was reported:
 6
                 OUR WINDSHIELD CRACKED SPONTANEOUSLY,
 7               STARTING AT THE WIPER PARK HEATER ON
                 THE DRIVER SIDE. THE CAR WAS PARKED IN A
 8               PARKING GARAGE WHEN THE CRACK
                 SPONTANEOUSLY APPEARED.
 9
10         110. On NHTSA’s website where consumer complaints about 2019
11   Subaru Foresters are posted,12 the following incident posted on February 5, 2019
12   and dated January 31, 2019 was reported:
13               I AM HERE TO REPORT MY 2019 SUBARU
                 FORRESTER WINDSHIELD CRACK. I THE CAR IS
14               ONLY 1 MONTH OLD AND WE FOUND THE
                 CRACK IN THE MORNING WHILE SITTING IN
15               THE DRIVEWAY I HEARD THE SAME PROBLEM
                 HAPPENS ON 2015 OUTBACK I CALLED THE
16               SHOP AND THEY TOOK PICTURES AND THEY
                 DID NOT FIND ANY CHIPS THAT WOULD
17               INDICATE A ROCK OR PEBBLE HIT THE CAR
                 AND SAID THEY WILL CALL SUBARU AND GET
18               BACK TO ME
19
           111. On March 8, 2019, the following incident dated February 13, 2019
20
     was reported:
21
                 WINDSHIELD CRACKED FOR NO REASON
22               NOTHING HIT IT WENT TO DEALER NO HELP
                 FROM THEM TOOK CAR TO GLASS EXPERT .
23               SAID    WINDSHIELD    WAS    NOT      HIT
                 (SPONTANEOUS CRACK) HAPPENS ON 02/13/2019
24               FOUND OUT NO REPLACEMENT IN THE USA.
                 WINDOW OUT OF CAR 02/26/2019)SUBARU NO
25               HELP LEFT WITHOUT CAR
26
           112. On March 13, 2019, the following incident dated March 12, 2019
27
28         12
              https://www.nhtsa.gov/vehicle/2019/SUBARU/FORESTER/SUV/AWD
     (last viewed November 10, 2019).
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 1   was reported:
 2               WHILE DRIVING ON THE FREEWAY, THERE
                 WERE SOME BUMPS ON THE ROAD AND
 3               SUDDENLY A CRACKLING NOISE AND A
                 VERTICAL CRACK DEVELOPED ON THE DRIVER
 4               SIDE WINDSHIELD. THE CRACKED RUN FROM
                 THE UPPER RIGHT CORNER TOWARDS THE
 5               BOTTOM OF THE WINDSHILED.
 6
           113. On March 14, 2019, the following incident dated January 1, 2019
 7
     was reported:
 8
                 WINDSHIELD CRACK AND ROCK CHIP. THE
 9               SUBARU OEM WINDSHIELD IS VERY WEAK AND
                 I'VE ALREADY NOTICED A CHIP ON THE
10               WINDSHIELD FOR A CAR THAT IS 5 MONTHS
                 OLD. SEVERAL OWNERS HAVE ALREADY FILED
11               A COMPLAINT FOR THE PREVIOUS YEARS, AND
                 ITS THE SAME FOR 2019 AS WELL.
12
13         114. On March 15, 2019, the following incident dated January 5, 2019
14   was reported:
15               BOUGHT THE CAR 11/23/2018, AND IN JANUARY
                 2019 THE WINDSHIELD CRACK FROM THE
16               BOTTOM UP AND BRANCH OUT FOR NO
                 REASON. THE CAR PARKED INSIDE OF OUR
17               GARAGE. CONTACTED SUBARU HQ AND
                 DEALERSHIP    SUBARU        OF    ONTARIO
18               CALIFORNIA, BOTH DENIED THE WINDSHIELD
                 HAS ANY DEFECT. AND THE DEALERSHIP
19               SERVICE MANAGER ONLY LOOKED AT IT 2
                 SECONDS AND SAID IT'S IMPACTED!!
20
21         115. On April 1, 2019, the following incident dated April 1, 2019 was
22   reported:
23               THE FORESTER ARRIVED TO US FROM THE
                 DEALERSHIP WITH A CRACKED WINDSHIELD.
24               IT WAS REPLACED BY THE DEALERSHIP. THE
                 REPLACEMENT WAS CRACKED WITHIN A DAY
25               OF DRIVING THE VEHICLE. THERE SEEMS TO BE
                 AN ONGOING ISSUE WITH THE 2019 SUBARU
26               FORESTER WINDSHIELDS. BOTH TIMES OF
                 INCIDENT THE VEHICLE WAS IN MOTION ON
27               THE HIGHWAY AND WAS IMPACTED BY A VERY
                 SMALL ROCK - YET THE ENTIRE WINDSHIELD
28               BECAME DAMAGED.
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 1         116. On NHTSA’s website where consumer complaints about 2017
 2   Subaru Legacies are posted,13 the following incident posted on July 6, 2017 and
 3   dated July 6, 2017 was reported:
 4               HELLO,
 5               I HAVE NOTICED AN ISSUE WITH 2017 SUBARU
                 LEGACY WINDSHEILDS. WHEN THE OUTSIDE
 6               TEMPERATURE IS ABOVE 88°F AND THE "AUTO"
                 CLIMATE CONTROL IS SET TO 68°C THE
 7               DIFFERENCE IN THE TEMPERATURE BETWEEN
                 THE OUTSIDE AIR, AND THE COOLING INSIDE
 8               AIR    DRAMATICALLY     INCREASES    THE
                 WEAKNESS AND BRITTLENESS OF THE
 9               WINDSHEILD, SUCH THAT WHEN SOMETHING
                 HITS IT, IT ALMOST INSTANTANEOUSLY
10               CRACKS MORE THAN 7-8 INCHES IN LENGTH. I
                 AM NIW HAVING MY SECOND WINDSHEILD
11               REPLACED IN THE LAST 2 MONTHS BECAUSE OF
                 THIS ISSUE.
12
                 BOTH TIMES I WAS DOING ABOUT 70MI/HR ON
13               I-94...I KNOW WINDSHEILDS CRACK WHEN
                 SOMETHING HITS THEM, BUT THIS WAS
14               DIFFERENT THE STRIKE WAS BARELY
                 NOTICEABLE,     SOMETHING    THAT     IF
15               CONDITIONS    WERE   COOLER    OR   THE
                 TEMPERATURE EQUALIZED, I DONT THINK THE
16               THERMODYNAMICS WOULD BE RIGHT FOR.
17               ****
18
           117. On June 12, 2018, the following incident dated June 12, 2018 was
19
     reported:
20
                 NEW 2017 SUBARU LEGACY WAS BOUGHT IN
21               MAY 2017. WITH IN A MONTH, WINDSHIELD
                 CRACKED WHEN THE CAR WAS STATIONARY IN
22               A SHOPPING MALL PARKING LOT. DEALER DID
                 NOT COVER STATING IT WAS ROCK HIT. IT GOT
23               FIXED WITH INSURANCE CLAIM. AFTER FIXING
                 IT, THE SAME DAY EVENING IN THE OFFICE
24               PARKING LOT, IT CRACKED AT THE SAME SPOT.
                 WITH COURTESY OF THE THE REPAIRER IT WAS
25               CHANGED WITH WARRANTY. NOW, EXACTLY
                 AFTER ONE YEAR, WHILE DRIVING ON THE
26               HIGHWAY, HEARD LOUD NOISE AS IF MY TIRE
                 GOT BURST. WHILE LOOK AROUND I SAW THE
27               WINDSHIELD CRACK AT THE SAME SPOT. IT
28         13
           https://www.nhtsa.gov/vehicle/2017/SUBARU/LEGACY/4%252520DR/
     AWD (last viewed November 14, 2019).
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                 CAN NOT BE COINCIDENT TO HAPPEN 3 CRACKS
 1               AT THE SAME SPOT.
 2
           118. On NHTSA’s website where consumer complaints about 2018
 3
     Subaru Legacies are posted,14 the following incident posted on April 4, 2019 and
 4
     dated March 25, 2019 was reported:
 5
                 THE SUBARU LEGACY WINDSHIELD IS
 6               EXTREMELY BRITTLE, SMALL SALT DEBRIS
                 CAUSED THE WINDSHIELD TO HAVE SEVERAL
 7               CHIPS ALL OVER THE WINDSHIELD, IN ALL MY
                 YEARS I’VE NEVER SEEN WINDSHIELDS BEING
 8               THIS BRITTLE. THERE ARE THOUSANDS OF
                 COMPLAINTS ON SUBARU FORUMS ABOUT
 9               WINDSHIELDS THAT HAVE THE EYESIGHT
                 EQUIPPED THAT THEY ARE PRONE TO
10               CRACKING AND CHIPPING EASILY. RECENTLY
                 SUBARU LOST A LAWSUIT ABOUT THEIR
11               WINDSHIELD CRACKING ON THE 2015 AND 2016
                 SUBARU OUTBACKS, I BELIEVE SUBARU HAS
12               NOT ADDRESSED THIS ISSUE YET.
13               WHILE I WAS DRIVING ON THE HIGHWAY ON
                 MY WAY TO VACAVILLE CALIFORNIA MY
14               WINDSHIELD ENDED UP WITH AT LEAST
                 DOZENS OF CHIPS ALL OVER MY WINDSHIELD.
15               THIS IS UNACCEPTABLE BECAUSE I’VE MADE
                 THIS TRIP COUNTLESS AMOUNT OF TIMES ON
16               MY OLD CAR AND NEVER HAD THIS ISSUE.
17
           119. On NHTSA’s website where consumer complaints about 2019
18
     Subaru Legacies are posted,15 the following incident posted on November 7,
19
     2018 and dated November 4, 2018 was reported:
20
                 MY CAR IS 2 WEEKS OLD. I USED THE
21               DEFROSTER ON SATURDAY NIGHT AND ON
                 SUNDAY MORNING THERE WAS A CRACK ON
22               MY WINDSHIELD FROM THE BOTTOM CENTER.
                 UP AND TO THE PASSENGER'S SIDE. I DO NOT
23               HEAR A STONE HIT MY WINDSHIELD WHILE
                 DRIVING. SUBARU SAID IT WAS A STONE AND
24               IS CHARGING ME OVER $700.00 TO REPLACE IT.
                 I HAVE BEEN DRIVING FOR MANY YEARS AND
25               HAVE NEVER GOTTEN A CRACK LIKE THIS. I
                 BELIEVE IT IS A FAULTY WINDSHIELD THAT
26
           14
27          https://www.nhtsa.gov/vehicle/2018/SUBARU/LEGACY/4%252520DR/
     AWD (last viewed November 14, 2019).
28       15
            https://www.nhtsa.gov/vehicle/2019/SUBARU/LEGACY/4%252520DR/
     AWD (last viewed November 14, 2019).
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                 CRACKED   WITH               THE        CHANGE          IN
 1               TEMPERATURE.
 2
           120. On November 27, 2018, the following incident dated November 23,
 3
     2018 was reported:
 4
                 THE VEHICLE IS LESS THAN ONE MONTH OLD
 5               AND IT WAS FOUND ONE MORNING WITH AN 8
                 INCH CRACK IN THE WINDSHIELD. THERE WAS
 6               NO IMPACT MADE ON THE WINDSHIELD. THE
                 CRACK IS COMING FROM THE BOTTOM LEFT
 7               CORNER AND GOES TOWARDS THE CENTER.
 8
     Customer Complaints on Third-Party Websites
 9
           121. Consumers similarly complained about the defect on various online
10
     forums. Below are some examples.
11
           122. In a forum for 2017 Subaru Outbacks titled “Cracked Windshield”16
12
     on carcomplaints.com, consumers posted as follows:
13
                 a. A consumer wrote on December 14, 2016:
14
                 This crack appeared suddenly on the lower right side
15               (passenger side) of windshield of my 2017 Subaru
                 Outback, and could be observed actually spreading
16               toward the lower center after just having left my garage
                 3 or 4 minutes earlier into a snow storm.
17
                 There had been no sound of any impact on the vehicle
18               since leaving the garage.
19               Upon close inspection of the cracked windshield there
                 appeared to be a tiny ding in the midst of the crack. I was
20               not aware of any prior impact of any hard objeggglct to
                 this windshield.
21
                 I am disturbed about how a tiny (less than centimeter)
22               ding could result in a crack that resulted in need for
                 windshield replacement so soon after purchasing (3000
23               miles) the car. I am also unaware of any warranty with
                 Subaru that would have covered the cost of replacement.
24               A claim was made to my auto insurance. My windshield
                 was replaced.
25
                 Please see complaints of further windshield damages
26               requiring repairs, and a current crack to the replacement
                 windshield which has not yet been repaired (probably
27
28         16
             https://www.carcomplaints.com/Subaru/Outback/2017/windows_windshi
     eld/cracked_windshield.shtml (last viewed November 13, 2019).
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                 will require another replacement).
 1
 2               b. Another consumer wrote on July 26, 2019:
 3               While driving down the highway July 2017, a very small
                 rock hit within bottom 2 inches (near the center) of the
 4               windshield that over the course of a few days grew. Took
                 it in and due to the eye sight re-calibration had to pay
 5               $1600.00 to have it repaired by the dealer. This past
                 week, with a bump of my hand on the front windshield it
 6               cracked again! Seriously, hitting with window with my
                 bare hand, with little force SHOULD NEVER CAUSE
 7               THE WINDOW TO CRACK. My insurance deducible is
                 $1,000 so hardly worth reporting it. The cost to replace
 8               is exorbitant. After doing some research online I find that
                 that easily cracked wind shields are a common problem.
 9               I can't keep replacing my windshield at $1,600 a pop!
10
           123. In a forum for 2018 Subaru Outbacks titled “Windshield Cracks
11
     Easily”17 on carcomplaints.com, consumers posted as follows:
12
                 a. A consumer wrote on May 13, 2018:
13
                 Our Subaru was about 2 weeks old when while on a drive
14               on a paved highway a crack suddenly appeared on
                 passenger side of windshield. We had not experienced
15               any indication of getting hit by a rock, etc. It seemed to
                 come from the edge and extended in a curved pattern
16               about 8 inches. The crack grew to about 12 inches.
17               Went to local Subatu dealer in Rapid City, SD the next
                 day. The service tech traced the crack with a ball point
18               pen and found a "star" indicating a rock chip very near
                 the side edge of the windshield where the crack appeared
19               to start. Since they don't replace windshields at their
                 dealership they referred us to the local Safelite shop.
20               They confirmed that it was a rock chip & replaced the
                 windshield with what they told us was am OEM Subaru
21               windshield. Since the car has "Eyesight" potentially it
                 may have had to be recalibrated, but in our case it did
22               not, which saved us a few hundred $$.
23               Incidentally, within one week of the windshield
                 replacement we had a known rock hit the windshield
24               while driving on a paved highway when we met a pickup
                 truck and saw & heard the rock hit. It left a chip which
25               we had repaired by the same Safelite shop the following
                 day.
26
27               b. Another consumer wrote on May 17, 2018:
28         17
            https://www.carcomplaints.com/Subaru/Outback/2018/windows_windshi
     eld/windshield_cracks_easily.shtml (last viewed November 13, 2019).
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                 I know on the first event of the windshield cracking, a
 1               pebble hit in while on the highway. We had it back for 7
                 days when it happened again, got it back last Friday and
 2               it happened again (today is Thursday 5/17). I know the
                 dealer claims a pebble hit it the second time, and I am
 3               sure they will this time. I cannot imagine how a pebble
                 can cause this, been driving many years and have noted
 4               this happen previous and have had many pebbles hit my
                 windshields over the years. I suspect faulty glass, I
 5               shared that with the dealer but no success. I will examine
                 options under Virginia's Lemon law. Each time this
 6               occurs it takes the car away for 2 days as with all the
                 technology the windshield must be calibrated as well.
 7
 8               c. Another consumer wrote on June 1, 2018:
 9               I had just drove off the lot and not 24 hrs. past brand new,
                 got hit by a small rock...I thought it was a bug didn't even
10               flinch and then a little thud afterwards 3 mins....crack
                 appeared to move all the way across my vision. 12 inches
11               immediately.
12
                 d. Another consumer wrote on July 22, 2018:
13
                 This is my second Subaru in 1 year. My 2017 was totaled
14               by hail (all the windows were knocked out). We were
                 driving on the highway, and we got hit with a small rock.
15               It hit right at the bottom, and it instantly started to crack.
                 Within 30 seconds, it grew to well over 12 inches. It was
16               a very small rock, that should've only been a starburst of
                 a ding, and easily fixed. My 2017, had the exact same
17               crack before it was totaled out from hail. I actually had a
                 pending insurance claim to get the windshield fixed
18               because they cost around $600-$700 to replace.
19               The car has less then 500 miles and I already have to get
                 the windshield replaced. I read there was a pending
20               lawsuit on other Outback years, and obviously, nothing
                 has changed. I even have the windshield coverage for the
21               outback, but it only covers dings, not large cracks. Didn't
                 even stand a chance.
22
23               e. Another consumer wrote on September 18, 2018:
24               I am here to report my 2018 Subaru Outback windshield
                 crack. I heard the same problem happens on 2015
25               Outback (I owned one before). So I found the document
                 from Internet, Subaru 12-192-15R, about extend
26               warranty for 2015 windshield. I took the file to a Subaru
                 shop, they just refused 2018 has the same problem - no
27               same warranty. Now I don't know what to do.
28
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 1         124. In a forum for 2018 Subaru Outbacks titled “Cracked Windshield”18
 2   on carcomplaints.com, consumers posted as follows:
 3               a. A consumer wrote on December 27, 2018:
 4               I had replaced my first windshield within 48 hrs of
                 driving the car off the lot brand new....not even a year
 5               old now and another crack has appeared. I am going to
                 replace it with an independent dealer without using
 6               Subaru's Abra who over charged me exorbitantly...
                 $313.45 which was supposedly just 50% of the total told
 7               to me by Subaru). Abra didn't give me any warranty and
                 says needs to be replaced at full cost to me.
 8
                 Again...hard to see if a rock hit it, it was raining and cold
 9               outside on the highway...didn't hear a rock again.
10
                 b. Another consumer wrote on April 19, 2019:
11
                 I have a spontaneous crack in my windshield, driver's
12               side, starting in the upper left hand of the front
                 windshield and going diagonally to my eyesight line,
13               then the crack continues horizontally. Both legs of the
                 crack are at least 6-7 inches in length. The crack
14               happened while stored in my garage for the night. No
                 stones or rocks hit my windshield before the crack. I
15               went to drive it the next morning and there it was.
16               There was a class action lawsuit against Subaru for faulty
                 windshields that would crack for no reason on the 2015-
17               2016 Outback & Legacy models. I think this problem is
                 still happening.
18
                 ****
19
20               c. Another consumer wrote on April 29, 2019:
21               Windshield cracked just sitting at work parking lot.
                 Staring from the frame on the driver side small fine S
22               curve at first about 20” but couple days later expanding
                 halfway across the glass. Called the dealer and it is clear
23               that they are well aware of the problem and referred me
                 to a designated person handling just windshields. Being
24               very careful with her instruction basically assuming no
                 responsibility unless you have some kind of “extension”
25               on your warranty. Basically instructing me to Subaru
                 America. She did way to bring the car to the dealer so
26               they can determine the cause. I am not sure what are their
                 methods and what they can determine. Possibly just
27               collecting data so they Subaru can address this with their
28         18
             https://www.carcomplaints.com/Subaru/Outback/2018/windows_windshi
     eld/cracked_windshield.shtml (last viewed November 13, 2019).
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                 glass supplier. Cost estimated at $2000. This is clearly
 1               not an isolated incident and I hope that there is a class
                 action suit on the way to address this issue. Very
 2               frustrating and expansive repair. I currently own two and
                 this is my third Subaru and possibly last.
 3
 4         125. In a forum for 2019 Subaru Outbacks titled “Windshield Crack”19
 5   on carcomplaints.com, consumers posted as follows:
 6               a. A consumer wrote on November 24, 2018:
 7               Returning from Rochester and a crack appears in the
                 corner of the windshield by the passenger about 4-5
 8               inches long. The next morning it's like 18 inches. There
                 is no ding, no star, no full moon or half moon. I will
 9               update after I take it to a dealer.
10
                 b. Another consumer wrote on January 11, 2019:
11
                 I am writing to express my concern regarding the quality
12               of the Subaru Outback windshield. On December 21,
                 2018 I purchased my first Subaru. On January 11,2019
13               my windshield spontaneously cracked below the wipers
                 and spread very quickly. Because it was obstructing my
14               view I had to have the entire windshield replaced.
15               On February 15,2019, four days after the windshield was
                 replaced, I received a rock chip that immediately cracked
16               to a size larger than a dollar bill, beyond repair. I had
                 expected better from the Subaru brand. I decided to
17               purchase a Subaru Outback for the quality and reliability
                 however after experiencing the poor windshield quality,
18               I may not purchase another Subaru.
19               For a little background, I have had the same commute for
                 over ten years. With other vehicles I have experienced
20               rock chips, which I have been able to get repaired and
                 never had to replace the windshield. I have driven lesser
21               quality and less reliable vehicles and have never had to
                 incur the out of pocket cost that I have with the Subaru
22               Outback with 3 months of ownership.
23               To put this in perspective, the cost of one windshield
                 replacement equals the cost of one month of daycare for
24               a toddler, one year of auto and homeowner’s insurance
                 or two Epi Pens. This expense goes far beyond the
25               annual routine maintenance I expect to pay on any
                 vehicle.
26
27               c. Another consumer wrote on April 10, 2019:
28         19
            https://www.carcomplaints.com/Subaru/Outback/2019/windows_windshi
     eld/windshield_crack.shtml (last viewed November 13, 2019).
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                 On Jan 20th 2019, purchased a brand new 2019 Subaru
 1               Outback 3.6R. The car is garaged inside everyday on
                 4/10/2019 I noticed a huge crack on front of my driver
 2               side windshield as I was getting into my car after work.
                 I researched and on the Youtube I also see a video with
 3               exact crack that starts from the bottom of the windshield
                 the person who posted the video had 2018 Outback. I've
 4               had Volvo, Honda and Acura MDX and never had I a
                 window crack like this before even with little chip that
 5               would occur from driving highways or going off road on
                 a ski trip.
 6
 7               d. Another consumer wrote on May 29, 2019:
 8               2019 Subaru Outback purchased February 2019 with
                 7500 miles. Windshield crack developed on the
 9               passenger side edge, 1/2 up and grew toward the center.
                 The vehicle has eyesight and that will need to be re-
10               calibrated after the replacement. One estimate is up to
                 $1500 including calibration. Subaru doesn't want to
11               know anything. Funny how our 2005 Sienna has 263,000
                 miles and the original windshield.
12
13         126. In a forum for 2017 Subaru Foresters titled “Windshield Cracks”20
14   on carcomplaints.com, a consumer wrote on March 5, 2018:
15               My windshield cracked with no apparent impact about 6
                 months ago. Then the other day, my husband noticed 4
16               new cracks appearing in my new windshield. He was
                 upset because I had just been in a Fuller's Car Wash and
17               he said those cloth car washes are too rough for this car.
                 I knew there was no way that car's windshield was
18               damaged in the car wash. We had to have the windshield
                 replaced again! This car was purchased brand new, and
19               this should not be happening. I just want a glass that
                 won't crack.
20
21         127. In a forum for 2018 Subaru Foresters titled “Cracked Windshield”21
22   on carcomplaints.com, consumers posted as follows:
23               a. A consumer wrote on August 25, 2018:
24               A small stone cracked my windshield on 8/25/2018, and
                 the crack continues to grow while not even driving the
25               vehicle. I live in Massachusetts where it is illegal to drive
                 a car with a cracked windshield. The glass company told
26
           20
27             https://www.carcomplaints.com/Subaru/Forester/2017/windows_windshi
     eld/windshield_cracks.shtml (last viewed November 14, 2019).
28          21
               https://www.carcomplaints.com/Subaru/Forester/2018/windows_windshi
     eld/cracked_windshield.shtml (last viewed November 13, 2019).
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                 me that the part is on backorder from Subaru (verified
 1               with a second glass company) and will not be available
                 before the beginning of October. This means that I will
 2               not be able to operate my car for at least 5 weeks.
 3               I have tried to get the dealer where I purchased the car to
                 give me a loaner, but so far no luck. I talked to someone
 4               at Subaru Customer Service about this issue and am
                 waiting to see for a response. I have also been in touch
 5               with the Massachusetts Attorney General's Office (They
                 just talked about the lemon law here.) and a local TV
 6               station's consumer complaint division (They suggested
                 writing to the head of Subaru USA -- I plant to do this
 7               next.)
 8               There was a class action suit for windshield issues for
                 earlier years Outbacks and Legacys,
 9
10               b. Another consumer wrote on December 10, 2018:
11               Add my wife and I to the list of disgruntled Subaru
                 owners. Our 2018 Outback suffered a spontaneous
12               windshield crack, without impact to the glass,
                 originating in the deicer area on the driver's side (like
13               countless others reported online). At least three separate
                 service bulletins have been issued related to this
14               problem, and a class action lawsuit is underway in
                 California. We purchased the extended bumper-to-
15               bumper warranty, but after speaking with a service
                 center rep who says she's aware of the issue but can't
16               remember the dealership ever covering a warranty claim
                 for windshield damage, I have little faith this will be
17               resolved satisfactorily.
18
           128. In a forum for 2017 Subaru Legacies titled “Cracked Windshield”22
19
     on carcomplaints.com, consumers posted as follows:
20
                 a. A consumer wrote on March 30, 2018:
21
                 Few months after buying the vehicle, windshield cracks
22               while driving on the highway. No apparent reason was
                 heard or noticed. Insurance paid for the replacement
23               minus the deductible.
24
                 b. Another consumer wrote on June 12, 2018:
25
                 New car purchased in May 2017 and first windshield
26               crack happen in June 2017 at shopping parking lot
                 parked car. After fixing it with the Subaru parts, same
27               day evening at the office parking lot it cracked again at
28         22
             https://www.carcomplaints.com/Subaru/Legacy/2017/windows_windshie
     ld/cracked_windshield.shtml (last viewed November 14, 2019).
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                 the same spot. Non in June 2018 again another crack at
 1               the same spot. It can not be coincident to happen at the
                 same spot for times.
 2
 3         129. In a forum titled “Windshield cracked, 3 day old 2017 Limited”23 on
 4   subaruoutback.org, a consumer with the username “davidaug” wrote regarding
 5   his 2017 Outback on January 1, 2017:
 6               Hi - new Subaru owner, bought the car last Saturday and
                 Wednesday there developed a crack starting at the
 7               bottom of the center of the windshield, radiating upward.
                 Turned on defroster and watched the crack start going
 8               laterally toward the driver side. There is a small chip
                 about 1" above the start of the crack, but I do not recall
 9               hearing an impact. I previously drove a 1998 Mercedes
                 Wagon for 290000 miles with many stone impacts, etc,
10               but never any sort of crack resulted, the most damage
                 was a small chip. So, I guess this is my question - is the
11               2017 also affected by previous model years windshield
                 issues, or am I just the victim of bad luck (as the dealer
12               service manager says)?
13
           130. A consumer with the username “jeffoutback” responded on this
14
     thread on October 25, 2017:
15
                 Apparently we're in the same boat
16
                 2017 Subaru outback 15000 miles - long crack going up
17               from a "tiny" impact to windshield a few inches from the
                 bottom ( below the horizon of the hood and below the
18               windshield wiper). Must be some pretty weak glass - had
                 a Toyota RAV 4 since 2008 and never had a crack.
19
20         131. In a forum titled “2017 xt windshield - I will be on my 4th soon”24
21   on subaruforester.org, a consumer with the username “hoshie” with a 2018
22   Forester XT began the thread on December 24, 2017:
23               realize there have been a couple threads on this but it
                 needs another aha.
24
                 These are by far the worst windshields I have ever
25               experienced. Nothing comes close.
26
           23
27             https://www.subaruoutback.org/threads/windshield-cracked-3-day-old-
     2017-limited.398690/ (last viewed November 13, 2019).
28         24
              https://www.subaruforester.org/threads/2017-xt-windshield-i-will-be-on-
     my-4th-soon.743937/ (last viewed November 13, 2019).
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                 They pit at negative temperatures from the tiniest rocks.
 1               They crack soon after.
 2               I will be on my 4th soon.
 3               Considering the footprint, something needs to be
                 rectified.
 4
                 Absolute design flaw. Garbage product.
 5
 6         132. A consumer with the username “Rick’s17” with a 2017 Forester
 7   Limited responded on this thread on December 24, 2017:
 8               Maybe. I got a tiny chip near my windshield pillar and
                 with cold weather, crack is now halfway across
 9               windshield
10
           133. A consumer with the username “saab93ddriver” with a 2017
11
     Forester XT responded on this thread on December 25, 2017:
12
                 I have to say the glass seems to be pretty tender. I'm on
13               my third windshield within a year. I'm in Florida, I'm not
                 sure temperature is a controlling factor. Last time I had
14               it replaced the glass was on national back order and I had
                 to wait 6 weeks, which says to me there is a pretty good
15               demand. Now I got a chip last week, it's not growing so
                 maybe this one can be repaired rather than replacing the
16               whole piece of glass. In my 35 years of driving, before
                 the Forester experience, I replaced 1 windshield in my
17               Honda Element and never had to have any repaired in
                 any of my other vehicles.
18
19         134. A consumer with the username “regajohn” with a 2014 Forester XT
20   CVT responded on this thread regarding his sister’s 2017 Forester on December
21   25, 2017:
22               My sister's new (2017) is on its 3rd windshield in fewer
                 than 4,000 miles. The 2nd one broke while she was
23               leaving the dealership (the new glass didn't make it a
                 mile).
24
                 Both replacements have been paid for by the dealer /
25               SoA.
26               The glass is definitely thin / weak.
27
           135. In a forum titled “2018 Subaru Forester Windshield crack (merged
28
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 1   thread)”25 on subaruforester.org, a consumer with the username “safebet” wrote
 2   on July 18, 2018:
 3               My 3 week old 2018 XT windshield just broke this
                 afternoon driving down the road with no cars nearby. No
 4               reason at all. A friend and I were returning from lunch
                 and bang! A huge crack straight down from the drivers
 5               side and cutting over to the middle of vision. It was 78
                 degrees outside and no reason whatsoever for this to
 6               happen. Not happy.
 7
           136. A consumer with the username “cheeksf16” responded on this
 8
     thread on July 26, 2018:
 9
                 We have had the same issue with our 2017 Forester
10               Touring that we bought new in May 2017. In Jun 2018,
                 we experienced the third windshield crack by a strike so
11               small we didn't hear anything, just saw the crack as it
                 appeared and spread about 12". I have read up on the
12               failed Subaru windshield redesign of the Forester for
                 2017, called an ‘Acoustic’ windshield, it was designed
13               to cut down on cabin noise and also to reduce weight, but
                 actually appears to increase the occurrence of cracks
14               versus chips, because the windshields are made using
                 two thin pieces of glass with a laminate in between. The
15               thinner glass on the outside cracks rather than chips
                 requiring replacement rather than repair. Subaru of
16               America (SoA) will not acknowledge there is a problem
                 and therefore, as far as I know, is not working to correct
17               the (non) problem. I have owned 19 cars in over 50 years
                 of driving; I have only replaced one windshield on a
18               1997 Volvo because of an "excessive number of chip
                 repairs" (not a crack) before buying this Forester. It has
19               been a month since our windshield cracked and it is still
                 not replaced. I tried to replace it on the trip on which it
20               occurred, but an OEM windshield was not available
                 (Subaru of America denies there was/is a shortage of
21               windshields), but I verified the shortage in Richmond,
                 VA with two sources. Once I returned home I took the
22               car to the dealer where I bought it and petitioned to get
                 SoA to replace the windshield but as others have noted
23               on this thread, Subaru claims no responsibility if the
                 crack was caused by “foreign debris” (rock) regardless
24               of the fact that it is their failed design that leads to an
                 abnormal rate of crack damage. An automaker that
25               claims replacing a windshield every 8000 miles (in my
                 case) is normal, is not an automaker to be trusted. In my
26               opinion, Subaru should: 1) acknowledge there is a
                 problem with their windshield design, 2) immediately
27               attack this engineering issue with the objective of a
28         25
             https://www.subaruforester.org/threads/2018-subaru-forester-
     windshield-crack-merged-thread.780995/ (last viewed November 13, 2019).
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                 'counter' redesign of the windshield to normalize its life
 1               expectancy, 3) replace any affected windshield under
                 warranty pending redesign, then once a solution is
 2               determined, 4) issue a recall of all affected vehicles to
                 replace remaining faulty windshields. Unfortunately, I
 3               don’t think we should hold our breath for Subaru to do
                 the right thing and so I am adopting my own policy
 4               regarding this problem; that is, I won’t replace a cracked
                 windshield unless and until it becomes a distraction to
 5               my vision or EyeSight’s function, extends from one edge
                 to another, or a second crack occurs (which I know will
 6               happen). Additionally, beginning with my current
                 replacement, I will replace with AS1 aftermarket non
 7               ‘Acoustic’ windshield. I will also continue to pass on my
                 experience with Subaru to friends and family as I did on
 8               the trip that the current damage occurred. As a result, my
                 son in VA is reconsidering his plan to purchase a new
 9               Crosstrek; a close friend in MA is reconsidering plan to
                 trade in Volvo XC 90 on new Outback; my wife’s
10               childhood friend in NJ is reconsidering trading in 2012
                 Outback on new one; and fellow church member here in
11               GA is reconsidering buying a new Outback. If you have
                 similar personal experiences that you wish you had prior
12               to buying your Subaru, I encourage you to pass them on
                 … had I known of this problem ahead of time, I would
13               not have bought the Forester, or any other Subaru.
14
           137. In a forum titled “2019 - Windshield on LONG backorder!”26 on
15
     subaruforester.org, a consumer with the username “hammersc” wrote on
16
     February 6, 2019:
17
                 cracked windshield
18
                 1st day my wife drove her '19 touring, she had a
19               windshield crack from a little rock while on the
                 interstate.
20
21         138. A consumer with the username “ctina8” responded on this thread on
22   February 7, 2019:
23               Same here, first day out with my 18, ended up with a
                 crack in windshield, does Subaru use some kind of cheap
24               glass, ever little stone that hits windshield is making a
                 chip. So annoyed!!
25
26         139. In a subforum for Subaru Outback owners on reddit.com, a
27         26
            https://www.subaruforester.org/threads/2019-windshield-on-long-
28   backorder.794211/ (last viewed November 13, 2019).
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 1   consumer wrote on January 1, 2017:27
 2                 2017 Outback's supercrackable windshield
 3                 My wife's 2017 Outback ran into one tiny gravel pellet
                   at 25miles/hr, and boom, we have a growing crack on the
 4                 windshield now. Googled up windshield replacement
                   and saw there was a Class action on this against Subaru.
 5                 Called up the dealer, he said they don't handle
                   windshield replacements and asked me to contact
 6                 Insurance. Called Subaru America, they registered my
                   complaint, and mentioned they don't cover stone hits,
 7                 and don't know about any faults with the current
                   windshields and asked me to contact the dealer. Its gonna
 8                 cost either myself/insurance&myself $550 to get this
                   replaced ($350 windshield + $200 labor). On top of it,
 9                 the dealer gets to re calibrate the eyesight for another
                   $250 For a car that is designed for offroad use, the size
10                 of stone that cracked the windshield was something we
                   could have protected with our face without injury.
11                 Wondering how many folks here has faced this problem
                   and what they have done about it?
12
13           140. In the reviews section for the 2019 Subaru Forester on cars.com,28 a
14   consumer wrote on November 21, 2018:
15                 I've only had mine for 2 1/2 weeks. After driving it for 1
                   week a small rock hit the windshield. I brought it to a
16                 reputable glass shop to have it fixed and it spidered when
                   they attempted to fix it. I ordered a new windshield from
17                 the dealership last week and it will be another 2 1/2
                   weeks to get here. Today another very tiny rock hit the
18                 windshield and made a star chip that looks like it will
                   spider rapidly. It seems to me that it's a pretty weak
19                 windshield and at a $1,000.00 for a new one it's a
                   moneymaker for Subaru/dealership. My 2014 Forester
20                 did not have this problem. I am not happy.
21
             141. On the same cars.com page, another consumer wrote on March 12,
22
     2019:
23
                   I've driven the 2019 Subaru Forester Touring model for
24                 a month, about 2500 miles. I'll start with the good. The
                   seats are very comfortable and the entertainment system
25                 is great. Mine came with a trial subscription to Sirius xm
                   radio and that has been enjoyable. The visibility is
26
             27
27           https://www.reddit.com/r/subaruoutback/comments/7zavlo/2017_outbac
     ks_supercrackable_windshield/ (last visited November 14, 2019).
28         2828
                https://www.cars.com/research/subaru-forester-2019/consumer-
     reviews/ (last viewed November 13, 2019)
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                  amazing on the car; there are no blind spots. Plenty of
 1                storage and extremely roomy. If all you were going to do
                  is sit in the car you would be happy. Now the cons. It is
 2                true that the cup holders are in a very weird and hard to
                  reach place, almost behind you. I'm still not used to that.
 3                It's also true that there is only one small cubby in the
                  front that doesn't really hold much. They put the usb
 4                outlet deep under there so it's hard to find. The
                  windshield seems to break easily. I got one small rock
 5                chip and it put a crack through the entire windshield. I've
                  never had a car that the window breaks in half over a tiny
 6                rock chip, and don't think that you're going to get a
                  replacement easily. The replacement windshields are
 7                very expensive and there is a two month wait. . . .
 8
           142. On the same cars.com page, another consumer wrote on September
 9
     4, 2019:
10
                  We bought the 2019 Forested less than 2 months ago in
11                mid July 2019 at 500 miles the windshield cracked from
                  driver side to middle of the passenger side. When we
12                took it into Hueberger a Subaru, Colorado Springs,
                  amazingly the service manager's what he called a chip
13                the size of the end of a ball point pen. It cracked over nite
                  while in the garage. We are at a time there is not gravel
14                on the road and we did not see or hear a rock. Then he
                  said because of the eyesight cameras the glass is thinner
15                than other windshields. Major design flaw in a vehicle
                  built for snow and off road driving! The windshields are
16                1100.00 installed..so guess we'll have to drive my 2010
                  Jetta in the snow.. original windshield, or the 2005
17                Pontiac vibe, original windshield. We have a case # with
                  Subaru and they may warranty one time. I am not happy
18                and the thought that we already have this issue is
                  concerning.
19
20         143. In the reviews section for the 2019 Subaru Outback on cars.com,29 a
21   consumer wrote on March 11, 2019:
22                Very happy with ride, safety features, fit, finish, quality.
                  Gas mileage not great but good. Coincidentally bought it
23                a day before a big snow hit Seattle and was glad to have
                  the AWD. Adaptive cruise control wonderful once you
24                get used to it. StarLink functionality and UI is confusing
                  and frustrating; doubt we will extend the free trial
25                subscription. A month after buying, found a crack that
                  will require an expensive windshield replacement. It
26                traces to a tiny chip, presumably from a small rock we
                  didn't notice. Subaru user forums online discuss
27                potentially vulnerable/weak windshields so prospective
28         2929
               https://www.cars.com/research/subaru-outback-2019/consumer-
     reviews/ (last viewed November 13, 2019)
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                    buyers might want to have low deductible on your
 1                  comprehensive insurance.
 2
           144. Defendants had superior and exclusive knowledge of the Defect and
 3
     knew or should have known that the defect was not known or reasonably
 4
     discoverable by Plaintiffs and Class Members before they purchased or leased
 5
     the Class Vehicles.
 6
           145. Plaintiffs are informed and believes, and based thereon alleges, that
 7
     before Plaintiffs purchased their respective Class Vehicles Defendants knew
 8
     about the Defect through sources not available to consumers, including pre-
 9
     release testing data, early consumer complaints to Defendants and their dealers,
10
     testing conducted in response to those consumer complaints, high cracking rates
11
     of the windshield, the data demonstrating the inordinately high volume of
12
     replacement part sales, and other aggregate data from Defendants’ dealers about
13
     the problem.
14
           146. Defendants are experienced in the design and manufacture of
15
     consumer vehicles. As an experienced manufacturer, Defendants conduct tests,
16
     including pre-sale testing, on incoming components, including the windshield, to
17
     verify the parts are free from defect and align with Defendants’ specifications.
18
     Thus, Defendants knew or should have known the windshield was defective and
19
     prone to put drivers in a dangerous position due to the inherent risk of the
20
     Defect.
21
           147. Defendants should have learned of this widespread defect from the
22
     sheer number of reports received from dealerships. Defendants’ customer
23
     relations department, which interacts with individual dealerships to identify
24
     potential common defects, has undoubtedly received numerous reports regarding
25
     the Defect. Defendants’ customer relations department also collects and analyzes
26
     field data including, but not limited to, repair requests made at dealerships,
27
     technical reports prepared by engineers who have reviewed vehicles for which
28
     warranty coverage is being requested, parts sales reports, and warranty claims
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 1   data.
 2           148. Defendants’ warranty department similarly analyzes and collects
 3   data submitted by their dealerships to identify warranty trends in their vehicles.
 4   It is Defendants’ policy that when a repair is made under warranty the dealership
 5   must provide Defendants with detailed documentation of the problem and a
 6   complete disclosure of the repairs employed to correct it. Dealerships have an
 7   incentive to provide detailed information to Defendant, because they will not be
 8   reimbursed for any repairs unless the justification for reimbursement is
 9   sufficiently detailed.
10           149. Defendant issued Technical Service Bulletin (TSB) Number 12-192-
11   15R on October 26, 2016, revised on November 19, 2016, that shows its
12   knowledge of the same Defect as it existed in prior model years for two of the
13   three Class Vehicles at issue here. This TSB states that:
14           Subaru of America, Inc. (SOA) Quality Assurance has identified an
15           increase in the number of cracked windshields on some 2015 and 2016MY
16           Legacy and Outback models. Further investigation has determined the root
17           cause for many of these failures to be the ceramic materials used for the
18           black-colored printed perimeter combined with the silver-colored material
19           used for the wiper deicer portion of the windshield glass. In response to this
20           increase, SOA is extending the original warranty on applicable factory-
21           installed windshields to 5 years / unlimited miles. This warranty extension
22           will cover windshield replacement a maximum of ONE TIME where
23           applicable on a vehicle with a VIN prior to those listed in the Production
24           Change Information on page 2 and meeting the guidelines outlined in this
25           bulletin.
26           150. The existence of the Defect is a material fact that a reasonable
27   consumer would consider when deciding whether to purchase or lease a Class
28   Vehicle. Had Plaintiffs and other Class Members known of the Defect, they
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 1   would have paid less for the Class Vehicles or would not have purchased or
 2   leased them.
 3         151. Reasonable consumers, like Plaintiffs, expect that a vehicle’s
 4   windshield will function in a manner that will not pose a safety risk and is free
 5   from defects. Plaintiffs and Class Members further reasonably expect that
 6   Defendants will not sell or lease vehicles with known safety defects, such as the
 7   Defect, and will disclose any such defects to their consumers when it learns of
 8   them. They did not expect Defendants to conceal and fail to disclose the Defect
 9   to them, and to then continually deny its existence.
10                        Defendants Have Actively Concealed the Defect
11         152. Despite their knowledge of the Defect in the Class Vehicles,
12   Defendants actively concealed the existence and nature of the defect from
13   Plaintiffs and Class Members. Specifically, Defendants failed to disclose or
14   actively concealed at and after the time of purchase, lease, or repair:
15                  (a)      any and all known material defects or material nonconformity
16                           of the Class Vehicles, including the defects pertaining to the
17                           windshield;
18                  (b)      that the Class Vehicles, including the windshields, were not in
19                           good in working order, were defective, and were not fit for
20                           their intended purposes; and
21                  (c)      that the Class Vehicles and the windshields were defective,
22                           despite the fact that Defendants learned of such defects as
23                           early as early 2018.
24         153. When consumers present their Class Vehicles to an authorized
25   Defendants’ dealer for windshield repairs, rather than repair the problem under
26   warranty, Defendants’ dealers either inform consumers that their vehicles are
27   functioning properly or conduct repairs that merely mask the Defect.
28         154. Defendants have caused Class Members to expend money at their
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 1   dealerships to replace the Class Vehicles’ windshields and pay for related
 2   repairs, despite Defendants’ knowledge of the Defect.
 3             Defendants Have Unjustly Retained A Substantial Benefit
 4         155.    On information and belief, Plaintiffs alleges that Defendants
 5   unlawfully failed to disclose the alleged defect to induce them and other putative
 6   Class Members to purchase or lease the Class Vehicles.
 7         156. Plaintiffs further alleges that Defendants thus engaged in deceptive
 8   acts or practices pertaining to all transactions involving the Class Vehicles,
 9   including Plaintiff’s.
10         157. As discussed above therefore, Plaintiffs allege that Defendants
11   unlawfully induced him to purchase his respective Class Vehicles by concealing
12   a material fact (the Defect) and that he would have paid less for the Class
13   Vehicles, or not purchased them at all, had he known of the defect.
14         158. Accordingly, Defendants’ ill-gotten gains, benefits accrued in the
15   form of increased sales and profits resulting from the material omissions that did
16   - and likely will continue to - deceive consumers, should be disgorged.
17                            CLASS ACTION ALLEGATIONS
18         159. Plaintiffs bring this lawsuit as a class action on behalf of themselves
19   and all others similarly situated as members of the proposed Class pursuant to
20   Federal Rules of Civil Procedure 23(a) and 23(b)(3). This action satisfies the
21   numerosity, commonality, typicality, adequacy, predominance, and superiority
22   requirements of those provisions.
23                160. The Class and Sub-Class are defined as:
24                Class: All individuals in the United States who
                  purchased or leased any Class Vehicle.
25
                  California Sub-Class: All members of the Class who
26                purchased or leased their Class Vehicle in the State of
                  California.
27
                  CLRA Sub-Class: All members of the California Sub-
28                Class who are “consumers” within the meaning of
                  California Civil Code § 1761(d).
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                  Implied Warranty Sub-Class: All members of the
 1                Class who took delivery of their vehicles in the State of
                  California.
 2
 3         161. Colorado Sub-Class: All members of the Class who purchased or
 4   leased their Class Vehicle in the State of Colorado.Excluded from the Class and
 5   Sub-Classes are: (1) Defendant, any entity or division in which Defendants have
 6   a controlling interest, and their legal representatives, officers, directors, assigns,
 7   and successors; (2) the Judge to whom this case is assigned and the Judge’s staff;
 8   (3) any Judge sitting in the presiding state and/or federal court system who may
 9   hear an appeal of any judgment entered; and (4) those persons who have suffered
10   personal injuries as a result of the facts alleged herein. Plaintiffs reserves the
11   right to amend the Class and Sub-Class definitions if discovery and further
12   investigation reveal that the Class and Sub-Class should be expanded or
13   otherwise modified.
14         162. Numerosity: Although the exact number of Class Members is
15   uncertain, and can only be ascertained through appropriate discovery, the number
16   is significant enough such that joinder is impracticable. The disposition of the
17   claims of these Class Members in a single action will provide substantial benefits
18   to all parties and to the Court. The Class Members are readily identifiable from
19   information and records in Defendants’ possession, custody, or control, as well
20   as from records kept by the Department of Motor Vehicles.
21         163. Typicality: Plaintiffs’ claims are typical of the claims of the Class
22   in that Plaintiffs, like all Class Members, purchased or leased a Class Vehicle
23   designed, manufactured, and distributed by Defendants. The representative
24   Plaintiffs, like all Class Members, has been damaged by Defendants’ misconduct
25   in that he has incurred or will incur the cost of repairing or replacing the
26   defective windshield. Furthermore, the factual bases of Defendants’ misconduct
27   are common to all Class Members and represent a common thread resulting in
28   injury to the Class.
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 1         164. Commonality: There are numerous questions of law and fact
 2   common to Plaintiffs and the Class that predominate over any question affecting
 3   Class Members individually. These common legal and factual issues include the
 4   following:
 5                (a)   Whether Class Vehicles suffer from defects relating to the
 6                      windshield;
 7                (b)   Whether the defects relating to the windshield constitute an
 8                      unreasonable safety risk;
 9                (c)   Whether Defendants knew about the defects pertaining to the
10                      windshield and, if so, how long Defendants have known of
11                      the defect;
12                (d)   Whether the defective nature of the windshield constitutes a
13                      material fact;
14                (e)   Whether Defendants have had an ongoing duty to disclose the
15                      defective nature of the windshield to Plaintiffs and Class
16                      Members;
17                (f)   Whether Plaintiffs and the other Class Members are entitled
18                      to equitable relief, including a preliminary and/or a permanent
19                      injunction;
20                (g)   Whether Defendants knew or reasonably should have known
21                      of the defects pertaining to the windshield before it sold and
22                      leased Class Vehicles to Class Members;
23                (h)   Whether Defendants should be declared financially
24                      responsible for notifying the Class Members of problems with
25                      the Class Vehicles and for the costs and expenses of repairing
26                      and replacing the defective windshields;
27                (i)   Whether Defendants are obligated to inform Class Members
28                      of their right to seek reimbursement for having paid to
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 1                       diagnose, repair, or replace their defective windshields;
 2                (j)    Whether Defendants breached the implied warranty of
 3                       merchantability pursuant to the Magnuson-Moss Warranty
 4                       Act;
 5                (k)    Whether Defendants breached the implied warranty of
 6                       merchantability pursuant to the Song-Beverly Act
 7                (l)    Whether Defendants breached their express warranties under
 8                       UCC section 2301; and
 9                (m)    Whether Defendants breached written warranties pursuant to
10                       the Magnuson-Moss Warranty Act.
11         165. Adequate Representation: Plaintiffs will fairly and adequately
12   protect the interests of the Class Members. Plaintiffs have retained attorneys
13   experienced in the prosecution of class actions, including consumer and product
14   defect class actions, and Plaintiffs intend to vigorously prosecute this action.
15         166. Predominance and Superiority: Plaintiffs and Class Members have
16   all suffered, and will continue to suffer, harm and damages as a result of
17   Defendants’ unlawful and wrongful conduct. A class action is superior to other
18   available methods for the fair and efficient adjudication of the controversy.
19   Absent a class action, most Class Members would likely find the cost of
20   litigating their claims prohibitively high and would therefore have no effective
21   remedy. Because of the relatively small size of the individual Class Members’
22   claims, it is likely that only a few Class Members could afford to seek legal
23   redress for Defendants’ misconduct. Absent a class action, Class Members will
24   continue to incur damages, and Defendants’ misconduct will continue unabated
25   without remedy or relief. Class treatment of common questions of law and fact
26   would also be a superior method to multiple individual actions or piecemeal
27   litigation in that it will conserve the resources of the courts and the litigants and
28   promote consistency and efficiency of adjudication.
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 1                             FIRST CAUSE OF ACTION
 2             (Violation of California’s Consumers Legal Remedies Act,
 3                         California Civil Code § 1750, et seq.)
 4                         (On Behalf of the CLRA Sub-Class)
 5         167. Plaintiffs incorporate by reference the allegations contained in the
 6   preceding paragraphs of this Complaint.
 7         168. Plaintiffs bring this cause of action on behalf of themselves and the
 8   CLRA Sub-Class (CLRA Sub-Class).
 9         169. Each Defendant is a “person” as defined by California Civil Code
10   § 1761(c).
11         170. Plaintiffs and the CLRA Sub-Class members are “consumers”
12   within the meaning of California Civil Code § 1761(d) because they purchased
13   their Class Vehicles primarily for personal, family, or household use.
14         171. By failing to disclose and concealing the defective nature of the
15   windshield from Plaintiffs and prospective CLRA Sub-Class members,
16   Defendants violated California Civil Code § 1770(a), as it represented that the
17   Class Vehicles and their windshields had characteristics and benefits that they do
18   not have, and represented that the Class Vehicles and their windshields were of a
19   particular standard, quality, or grade when they were of another. See Cal. Civ.
20   Code §§ 1770(a)(5) & (7).
21         172. Defendants’ unfair and deceptive acts or practices occurred
22   repeatedly in Defendants’ trade or business, were capable of deceiving a
23   substantial portion of the purchasing public, and imposed a serious safety risk on
24   the public.
25         173. Defendants knew that the Class Vehicles and their windshields
26   suffered from an inherent defect, were defectively designed, and were not
27   suitable for their intended use.
28         174. As a result of their reliance on Defendants’ omissions, owners
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 1   and/or lessees of the Class Vehicles, including Plaintiffs, suffered an
 2   ascertainable loss of money, property, and/or value of their Class Vehicles.
 3   Additionally, as a result of the Defect, Plaintiffs and the CLRA Sub-Class
 4   members were harmed and suffered actual damages in that the Class Vehicles’
 5   windshields are substantially certain to crack or break before their expected
 6   useful life has run.
 7         175. Defendants were under a duty to Plaintiffs and the CLRA Sub-
 8   Class members to disclose the defective nature of the windshields and/or the
 9   associated repair costs because:
10                (a)       Defendants were in a superior position to know the true state
11                          of facts about the safety defect in the Class Vehicles’
12                          windshields;
13                (b)       Plaintiffs and the CLRA Sub-Class members could not
14                          reasonably have been expected to learn or discover that their
15                          windshields had a dangerous safety defect until it manifested;
16                          and
17                (c)       Defendants knew that Plaintiffs and the CLRA Sub-Class
18                          members could not reasonably have been expected to learn of
19                          or discover the safety defect.
20         176. In failing to disclose the defective nature of windshields, Defendants
21   knowingly and intentionally concealed material facts and breached their duty not
22   to do so.
23         177. The facts Defendants concealed from or failed to disclose to
24   Plaintiffs and the CLRA Sub-Class members are material in that a reasonable
25   consumer would have considered them to be important in deciding whether to
26   purchase or lease the Class Vehicles or pay less. Had Plaintiffs and the CLRA
27   Sub-Class members known that the Class Vehicles’ windshields were defective,
28   they would not have purchased or leased the Class Vehicles or would have paid
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 1   less for them.
 2         178. Plaintiffs and the CLRA Sub-Class members are reasonable
 3   consumers who do not expect the windshields installed in their vehicles to
 4   exhibit problems such as the Defect. This is the reasonable and objective
 5   consumer expectation relating to a vehicle’s windshield.
 6         179. As a result of Defendants’ conduct, Plaintiffs and the CLRA Sub-
 7   Class members were harmed and suffered actual damages in that, on information
 8   and belief, the Class Vehicles experienced and will continue to experience
 9   problems such as the Defect.
10         180. As a direct and proximate result of Defendants’ unfair or deceptive
11   acts or practices, Plaintiffs and the CLRA Sub-Class members suffered and will
12   continue to suffer actual damages.
13         181. Plaintiffs and the CLRA Sub-Class members are entitled to
14   equitable relief.
15         182. Plaintiff provided Defendant with notice of its violations of the
16   CLRA pursuant to California Civil Code § 1782(a). If, within 30 days,
17   Defendant fails to provide appropriate relief for their violations of the CLRA,
18   Plaintiff Patrick will amend this Complaint to seek monetary, compensatory, and
19   punitive damages, in addition to the injunctive and equitable relief that he seeks
20   now on behalf of himself and the CLRA Sub-Class.
21                           SECOND CAUSE OF ACTION
22       (Violation of California Business & Professions Code § 17200, et seq.)
23                       (On Behalf of the California Sub-Class)
24         183. Plaintiffs incorporates by reference the allegations contained in
25   paragraphs 1 to 167 of this Complaint.
26         184. Plaintiffs brings this cause of action on behalf of himself and the
27   California Sub-Class (CA Sub-Class).
28         185. As a result of their reliance on Defendants’ omissions, owners
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 1   and/or lessees of the Class Vehicles, including Plaintiffs, suffered an
 2   ascertainable loss of money, property, and/or value of their Class Vehicles.
 3   Additionally, as a result of the Defect, Plaintiffs and the CA Sub-Class members
 4   were harmed and suffered actual damages in that the Class Vehicles’ windshields
 5   are substantially certain to fail before their expected useful life has run.
 6         186. California Business & Professions Code § 17200 prohibits acts of
 7   “unfair competition,” including any “unlawful, unfair or fraudulent business act
 8   or practice” and “unfair, deceptive, untrue or misleading advertising.”
 9         187. Plaintiffs and the CA Sub-Class members are reasonable consumers
10   who do not expect their windshields to exhibit problems such as spontaneously
11   and/or unreasonably cracking, chipping and otherwise breaking, and frequent
12   replacement.
13         188. Defendants knew the Class Vehicles and their windshields were
14   defectively designed or manufactured, would fail prematurely, and were not
15   suitable for their intended use.
16         189. In failing to disclose the Defect, Defendants have knowingly and
17   intentionally concealed material facts and breached their duty not to do so.
18         190. Defendants were under a duty to Plaintiffs and the CA Sub-Class
19   members to disclose the defective nature of the Class Vehicles and their
20   windshields because:
21                (a)    Defendants were in a superior position to know the true state
22                       of facts about the safety defect in the Class Vehicles’
23                       windshields; and
24                (b)    Defendants actively concealed the defective nature of the
25                       Class Vehicles and their windshields from Plaintiffs and the
26                       CA Sub-Class.
27         191. The facts Defendants concealed from or failed to disclose to
28   Plaintiffs and the CA Sub-Class members are material in that a reasonable
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 1   person would have considered them to be important in deciding whether to
 2   purchase or lease Class Vehicles. Had they known of the Defect, Plaintiffs and
 3   the other CA Sub-Class members would have paid less for Class Vehicles
 4   equipped with the windshields or would not have purchased or leased them at all.
 5         192. Defendants continued to conceal the defective nature of the Class
 6   Vehicles and their windshields even after Plaintiffs and the other CA Sub-Class
 7   members began to report problems.
 8         193. Defendants’ conduct was and is likely to deceive consumers.
 9         194. Defendants’ acts, conduct, and practices were unlawful, in that they
10   constituted:
11                  (a)   Violations of California’s Consumers Legal Remedies Act;
12                  (b)   Violations of the Song-Beverly Consumer Warranty Act;
13                  (c)   Violations of the Magnuson-Moss Warranty Act; and
14                  (d)   Breach of Express Warranty under California Commercial
15                        Code § 2313.
16         195. By their conduct, Defendants have engaged in unfair competition
17   and unlawful, unfair, and fraudulent business practices.
18         196. Defendants’ unfair or deceptive acts or practices occurred
19   repeatedly in Defendants’ trade or business and were capable of deceiving a
20   substantial portion of the purchasing public.
21         197. As a direct and proximate result of Defendants’ unfair and deceptive
22   practices, Plaintiffs and the other CA Sub-Class members have suffered and will
23   continue to suffer actual damages.
24         198. Defendants have been unjustly enriched and should be required to
25   make restitution to Plaintiffs and the other CA Sub-Class members pursuant to
26   §§ 17203 and 17204 of the Business & Professions Code.
27
28
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 1                              THIRD CAUSE OF ACTION
 2              (Breach of Implied Warranty Pursuant to Song-Beverly
 3   Consumer Warranty Act, California Civil Code §§ 1792 and 1791.1, et seq.)
 4                   (On Behalf of the Implied Warranty Sub-Class)
 5         199. Plaintiffs incorporate by reference the allegations contained in
 6   paragraphs 1 to 167 of this Complaint.
 7         200. Plaintiffs bring this cause of action against Defendants on behalf of
 8   himself and the Implied Warranty Sub-Class (IW Sub-Class).
 9         201. Defendants were at all relevant times the manufacturer, distributor,
10   warrantor, and/or seller of the Class Vehicles. Defendants knew or had reason to
11   know of the specific use for which the Class Vehicles were purchased or leased.
12         202. Defendants provided Plaintiffs and the IW Sub-Class members with
13   an implied warranty that the Class Vehicles and their components and parts are
14   merchantable and fit for the ordinary purposes for which they were sold.
15   However, the Class Vehicles are not fit for their ordinary purpose of providing
16   reasonably reliable and safe transportation because, inter alia, the Class Vehicles
17   and their windshields suffered from an inherent defect at the time of sale and
18   thereafter and are not fit for their particular purpose of providing safe and
19   reliable transportation.
20         203. Defendants impliedly warranted that the Class Vehicles were of
21   merchantable quality and fit for their intended use. This implied warranty
22   included, among other things: (i) a warranty that the Class Vehicles and their
23   windshields, which were manufactured, supplied, distributed, and/or sold by
24   Defendants, would provide safe and reliable transportation; and (ii) a warranty
25   that the Class Vehicles and their windshields would be fit for their intended use.
26         204. Contrary to the applicable implied warranties, the Class Vehicles
27   and their windshields at the time of sale and thereafter were not fit for their
28   ordinary and intended purpose of providing Plaintiffs and the IW Sub-Class
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 1   members with reliable, durable, and safe transportation. Instead, the Class
 2   Vehicles are defective, including the defective windshields.
 3            205. The alleged Defect is inherent and was present in each Class
 4   Vehicle at the time of sale.
 5            206. As a result of Defendants’ breach of the applicable implied
 6   warranties, owners and/or lessees of the Class Vehicles suffered an ascertainable
 7   loss of money, property, and/or value of their Class Vehicles. Additionally, as a
 8   result of the Defect, Plaintiffs and the IW Sub-Class members were harmed and
 9   suffered actual damages in that the Class Vehicles’ windshields are substantially
10   certain to fail before their expected useful life has run.
11            207. Defendants’ actions, as complained of herein, breached the implied
12   warranty that the Class Vehicles were of merchantable quality and fit for such
13   use in violation of California Civil Code §§ 1792 and 1791.1.
14                             FOURTH CAUSE OF ACTION
15                  (Violation of the Colorado Consumer Protection Act,
16                            Colo. Rev. Stat. §§ 6-1-101 et seq.)
17                          (On Behalf of the Colorado Sub-Class)
18            208. Plaintiffs incorporate by reference and re-allege the allegations
19   contained in paragraphs 1-167 of this Complaint.
20            209. Plaintiff Stephen Moreno (“Colorado Plaintiff”) brings this cause of
21   action on his own behalf and on behalf of the members of the Colorado Sub-
22   Class.
23            210. Subaru is a “person” within the meaning of the Colorado Consumer
24   Protection Act (“CCPA”), COLO. REV. STAT. § 6-1-102.
25            211. The CCPA prohibits a person from engaging in a “deceptive trade
26   practice,” including “knowingly mak[ing] a false representation as to the
27   characteristics, ingredients, uses, benefits, alterations, or quantities of goods
28   […];” “represent[ing] that goods, good, services, or property are of a particular
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 1   standard, quality, or grade, […] if he knows or should know that they are of
 2   another;” and “advertis[ing] goods, services, or property with intent not to sell
 3   them as advertised.” COLO. REV. STAT. § 6-1-105(1)(e), (g), and (i).
 4         212. Subaru participated in deceptive trade practices that violated the
 5   CCPA as described below and alleged throughout the Complaint. By failing to
 6   disclose the Defect, by concealing the Defect, by marketing its vehicles as safe,
 7   reliable, easily operable, efficient, and of high quality, and by presenting itself as
 8   a reputable manufacturer that valued safety, cleanliness, performance and
 9   efficiency, and stood behind its vehicles after they were sold, Subaru knowingly
10   and intentionally misrepresented and omitted material facts in connection with
11   the sale or lease of the Class Vehicles. Subaru systematically misrepresented,
12   concealed, suppressed, or omitted material facts relating to the Class Vehicles
13   and the Defect in the course of its business.
14         213. Subaru also engaged in unlawful trade practices by employing
15   deception, deceptive acts or practices, fraud, misrepresentations, or concealment,
16   suppression or omission of any material fact with intent that others rely upon
17   such concealment, suppression or omission, in connection with the sale of the
18   Class Vehicles.
19         214. Subaru’s unfair and deceptive acts or practices occurred repeatedly
20   in Subaru’s trade or business, were capable of deceiving a substantial portion of
21   the purchasing public, and imposed a serious safety risk on the public.
22         215. Subaru knew that the Class Vehicles and their transmissions
23   suffered from an inherent defect, were defectively designed or manufactured, and
24   were not suitable for their intended use.
25         216. Subaru knew or should have known that its conduct violated the
26   CCPA.
27         217. Colorado Plaintiff and the Colorado Sub-Class Members reasonably
28   relied on Subaru’s misrepresentations and omissions of material facts in its
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 1   advertisements of the Class Vehicles and in the purchase of the Class Vehicles.
 2         218. Had Colorado Plaintiff and the Colorado Sub-Class Members
 3   known that the Class Vehicles would exhibit the Defect, they would not have
 4   purchased or leased the Class Vehicles, or would have paid less for them.
 5   Plaintiffs did not receive the benefit of their bargain as a result of Subaru’s
 6   misconduct.
 7         219. Colorado Plaintiff and the Colorado Sub-Class Members suffered
 8   injury in fact to a legally protected interest. As a result of Subaru’s conduct,
 9   Colorado Plaintiff and the Colorado Sub-Class Members were harmed and
10   suffered actual damages in the form of the diminished value of their vehicles.
11         220. As a result of Subaru’s conduct, Colorado Plaintiff and the Colorado
12   Sub-Class Members were harmed and suffered actual damages as a result of
13   Subaru’s misrepresentations and omissions with regard to their Class Vehicles
14   windshields because they purchased vehicles which do not perform as
15   advertised.
16         221. As a direct and proximate result of Subaru’s unfair or deceptive acts
17   or practices, Colorado Plaintiff and the Colorado Sub-Class Members suffered
18   and will continue to suffer injury in fact and/or actual damages.
19         222. Colorado Plaintiff and the Colorado Sub-Class Members seek
20   damages in an amount to be proven at trial, including but not limited to actual
21   damages, under the CCPA.
22                             FIFTH CAUSE OF ACTION
23    (Breach of Implied Warranty of Merchantability, Colo. Rev. Stat. §§ 4-2-
24                                  313 AND 4-2.5-212)
25                        (On Behalf of the Colorado Sub-Class)
26         223. Plaintiffs incorporate by reference and re-allege the allegations
27   contained in paragraphs 1-167 of this Complaint.
28         224. Colorado Plaintiff brings this cause of action on his own behalf and
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 1   on behalf of the members of the Colorado Sub-Class.
 2         225. Subaru is and was at all relevant times a “merchant” with respect to
 3   motor vehicles under COLO. REV. STAT. §§ 4-2-104(1) and 4-2.5-103(3), and
 4   a “seller” of motor vehicles under § 4-2-103(1)(d).
 5         226. With respect to leases, Subaru is and was at all relevant times a
 6   “lessor” of motor vehicles under COLO. REV. STAT. § 4-2.5-103(1)(p).
 7         227. The Class Vehicles are and were at all relevant times “goods” within
 8   the meaning of COLO. REV. STAT. §§ 4-2-105(1) and 4-2.5-103(1)(h).
 9         228. A warranty that the Class Vehicles were in merchantable condition
10   and fit for the ordinary purpose for which vehicles are used is implied by law
11   under COLO. REV. STAT. §§ 4-2-313 and 4-2.5-212.
12         229. Subaru knew or had reason to know of the specific use for which the
13   Class Vehicles were purchased or leased. Subaru directly sold and marketed
14   Class Vehicles to customers through authorized dealers, like those from whom
15   Colorado Plaintiff and the Colorado Sub-Class Members bought or leased their
16   vehicles, for the intended purpose of consumers purchasing the vehicles. Subaru
17   knew that the Class Vehicles would and did pass unchanged from the authorized
18   dealers to Colorado Plaintiff and the Colorado Sub-Class Members, with no
19   modification to the defective transmissions.
20         230. Subaru provided Plaintiffs and Class Members with an implied
21   warranty that the Class Vehicles and their components and parts are
22   merchantable and fit for the ordinary purposes for which they were sold.
23         231. This implied warranty included, among other things: (i) a warranty
24   that the Class Vehicles and their transmissions that were manufactured, supplied,
25   distributed, and/or sold by Subaru were safe and reliable for providing
26   transportation; and (ii) a warranty that the Class Vehicles and their transmissions
27   would be fit for their intended use while the Class Vehicles were being operated.
28         232. Contrary to the applicable implied warranties, the Class Vehicles
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 1   and their transmissions at the time of sale and thereafter were not fit for their
 2   ordinary and intended purpose of providing Plaintiffs and Class Members with
 3   reliable, durable, and safe transportation. Instead, the Class Vehicles are
 4   defective, including, but not limited to, the defective design and/or manufacture
 5   of their windshields and the existence of the Defect at the time of sale or lease
 6   and thereafter. Subaru knew of this defect at the time these sale or lease
 7   transactions occurred.
 8         233. As a result of Subaru’s breach of the applicable implied warranties,
 9   Colorado Plaintiff and the Colorado Sub-Class Members of the Class Vehicles
10   suffered an ascertainable loss of money, property, and/or value of their Class
11   Vehicles. Additionally, as a result of the Defect, Colorado Plaintiff and the
12   Colorado Sub-Class Members were harmed and suffered actual damages in that
13   the Class Vehicles’ windshields are substantially certain to crack or otherwise
14   fail before their expected useful life has run.
15         234. Subaru’s actions, as complained of herein, breached the implied
16   warranty that the Class Vehicles were of merchantable quality and fit for such
17   use in violation of COLO. REV. STAT. §§ 4-2-313 and 4-2.5-212.
18         235. Colorado Plaintiff and the Colorado Sub-Class Members have
19   complied with all obligations under the warranty, or otherwise have been
20   excused from performance of said obligations as a result of Subaru’s conduct
21   described herein.
22         236. Colorado Plaintiff and the Colorado Sub-Class Members were not
23   required to notify Subaru of the breach because affording Subaru a reasonable
24   opportunity to cure its breach of written warranty would have been futile. Subaru
25   was also on notice of the Defect from the complaints and service requests it
26   received from Plaintiffs and the Colorado Sub-Class Class Members, from
27   repairs and/or replacements of the transmissions or components thereof, and
28   through other internal sources.
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 1         237. As a direct and proximate cause of Subaru’s breach, Colorado
 2   Plaintiff and the Colorado Sub-Class Members suffered damages and continue to
 3   suffer damages, including economic damages at the point of sale or lease and
 4   diminution of value of their Class Vehicles. Additionally, Colorado Plaintiff and
 5   the Colorado Sub-Class Members have incurred or will incur economic damages
 6   at the point of repair in the form of the cost of repair.
 7         238. As a direct and proximate result of Subaru’s breach of the implied
 8   warranty of merchantability, Colorado Plaintiff and the Colorado Sub-Class
 9   Members have been damaged in an amount to be proven at trial.
10                             SIXTH CAUSE OF ACTION
11          (Breach of Warranty under the Magnuson-Moss Warranty Act,
12                                 15 U.S.C. § 2303 et seq.)
13                                 (On Behalf of the Class)
14         239. Plaintiffs incorporate by reference the allegations contained in
15   paragraphs 1 to 167 of this Complaint.
16         240. Plaintiffs bring this cause of action on behalf of themselves and on
17   behalf of the Class against Defendants.
18         241. Defendants provided all purchasers and lessees of the Class
19   Vehicles with an express warranty described infra, which became a material part
20   of the bargain. Accordingly, Defendants’ express warranty is an express
21   warranty under California law.
22         242. The windshields were manufactured and/or installed in the Class
23   Vehicles by Defendants and are covered by the express warranty.
24         243. In a section entitled “What Is Covered,” Defendants’ express
25   warranty provides in relevant part that “These warranties cover any repairs
26   needed to correct defects in material or workmanship reported during the
27   applicable warranty period and which occur under normal use: . . . in any part of
28   the 2017 model year Subaru which is identified on the inside front cover of this
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 1   Warranty & Maintenance Booklet(the "vehicle").”
 2         244. According to Defendants, “BASIC COVERAGE is 3 years or
 3   36,000 miles, whichever comes first.”
 4         245. Defendants breached the express warranties by selling and leasing
 5   Class Vehicles with windshields that were defective, requiring repair or
 6   replacement within the warranty period, and refusing to honor the express
 7   warranty by repairing or replacing, free of charge, the windshields, and instead,
 8   replacing the defective windshields with equally defective windshields. By
 9   simply replacing Plaintiffs’ and Class Members’ defective windshields with
10   similarly defective windshields, Defendants have failed to “repair” the defects as
11   alleged herein.
12         246. Plaintiffs were not required to notify Defendants of the breach or
13   was not required to do so because affording Defendants a reasonable opportunity
14   to cure their breach of written warranty would have been futile. Defendants were
15   also on notice of the defect from complaints and service requests it received from
16   Class Members, from repairs and/or replacements of the windshield, and from
17   other internal sources.
18         247. As a direct and proximate cause of Defendants’ breach, Plaintiffs
19   and the other Class members have suffered, and continue to suffer, damages,
20   including economic damages at the point of sale or lease. Additionally, Plaintiffs
21   and the other Class members have incurred or will incur economic damages at
22   the point of repair in the form of the cost of repair.
23         248. Plaintiffs and the other Class members are entitled to legal and
24   equitable relief against Defendant, including actual damages, consequential
25   damages, specific performance, attorneys’ fees, costs of suit, and other relief as
26   appropriate.
27
28
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 1                           SEVENTH CAUSE OF ACTION
 2     (Breach of Implied Warranty under the Magnuson-Moss Warranty Act,
 3                                15 U.S.C. § 2303 et seq.)
 4                                (On Behalf of the Class)
 5         249. Plaintiffs incorporate by reference the allegations contained in
 6   paragraphs 1 to 167 of this Complaint.
 7         250. Plaintiffs bring this cause of action on behalf of themselves and the
 8   Class against Defendant.
 9         251. The Class Vehicles are a “consumer product” within the meaning of
10   the Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(1).
11         252. Plaintiffs and Class Members are “consumers” within the meaning
12   of the Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(3).
13         253. Each Defendant is a “supplier” and “warrantor” within the meaning
14   of the Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(4)-(5).
15         254. Defendants impliedly warranted that the Class Vehicles were of
16   merchantable quality and fit for use. This implied warranty included, among
17   other things: (i) a warranty that the Class Vehicles and their windshields were
18   manufactured, supplied, distributed, and/or sold by Defendants would provide
19   safe and reliable transportation; and (ii) a warranty that the Class Vehicles and
20   their windshields would be fit for their intended use while the Class Vehicles
21   were being operated.
22         255. Contrary to the applicable implied warranties, the Class Vehicles
23   and their windshields at the time of sale and thereafter were not fit for their
24   ordinary and intended purpose of providing Plaintiffs and Class members with
25   reliable, durable, and safe transportation. Instead, the Class Vehicles are
26   defective, including the defective design of their windshields.
27         256. Defendants’ breach of implied warranties has deprived Plaintiffs
28   and Class members of the benefit of their bargain.
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 1            257. The amount in controversy of Plaintiffs’ individual claims meets or
 2   exceeds the sum or value of $25,000. In addition, the amount in controversy
 3   meets or exceeds the sum or value of $50,000 (exclusive of interests and costs)
 4   computed on the basis of all claims to be determined in this suit.
 5            258. Defendants have been afforded a reasonable opportunity to cure
 6   their breach, including when Plaintiffs and Class members brought their vehicles
 7   in for diagnoses and repair of the windshields.
 8            259. As a direct and proximate cause of Defendants’ breach of implied
 9   warranties, Plaintiffs and Class members sustained and incurred damages and
10   other losses in an amount to be determined at trial. Defendants’ conduct
11   damaged Plaintiffs and Class members, who are entitled to recover actual
12   damages, consequential damages, specific performance, diminution in value,
13   costs, attorneys’ fees, and/or other relief as appropriate.
14            260. As a result of Defendants’ violations of the Magnuson-Moss
15   Warranty Act as alleged herein, Plaintiffs and Class members have incurred
16   damages.
17                             EIGHTH CAUSE OF ACTION
18                                 (For Unjust Enrichment)
19                                 (On Behalf of the Class)
20            261. Plaintiffs incorporate by reference the allegations contained in
21   paragraphs 1 to 167 of this Complaint.
22            262. Plaintiffs bring this cause of action on behalf of himself and the
23   Class.
24            263. As a direct and proximate result of Defendants’ failure to disclose
25   known defects, Defendants have profited through the sale and lease of the Class
26   Vehicles. Although these vehicles are purchased through Defendants’ agents,
27   the money from the vehicle sales flows directly back to Defendant.
28            264. Additionally, as a direct and proximate result of Defendants’ failure
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 1   to disclose known defects in the Class Vehicles, Plaintiffs and Class Members
 2   have vehicles that require repeated, high-cost repairs that can and therefore have
 3   conferred an unjust substantial benefit upon Defendant.
 4         265. Defendants have been unjustly enriched due to the known defects in
 5   the Class Vehicles through the use money paid that earned interest or otherwise
 6   added to Defendants’ profits when said money should have remained with
 7   Plaintiffs and Class Members.
 8         266. As a result of the Defendants’ unjust enrichment, Plaintiffs and
 9   Class Members have suffered damages.
10                                   RELIEF REQUESTED
11         267. Plaintiffs, on behalf of themselves and all others similarly situated,
12   request the Court to enter judgment against Defendant, as follows:
13               (a)    An order certifying the proposed Class and Sub-Classes,
14                      designating Plaintiffs as named representatives of the Class,
15                      and designating the undersigned as Class Counsel;
16               (a)    A declaration that Defendants are financially responsible for
17                      notifying all Class Members about the defective nature of the
18                      windshields, including the need for periodic maintenance;
19               (b)    An order enjoining Defendant from further deceptive
20                      distribution, sales, and lease practices with respect to Class
21                      Vehicles; compelling Defendant to issue a voluntary recall for
22                      the Class Vehicles pursuant to. 49 U.S.C. § 30118(a);
23                      compelling Defendant to remove, repair, and/or replace the
24                      Class Vehicles’ defective windshields with suitable
25                      alternative product(s) that do not contain the defects alleged
26                      herein; enjoining Defendant from selling the Class Vehicles
27                      with the misleading information; and/or compelling
28                      Defendant to reform their warranty, in a manner deemed to be
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 1                     appropriate by the Court, to cover the injury alleged and to
 2                     notify all Class Members that such warranty has been
 3                     reformed;
 4               (c)   A declaration requiring Defendant to comply with the various
 5                     provisions of the Song-Beverly Act alleged herein and to
 6                     make all the required disclosures;
 7               (d)   An award to Plaintiffs and the Class for compensatory,
 8                     exemplary, and statutory damages, including interest, in an
 9                     amount to be proven at trial; except that Plaintiffs do not
10                     currently seek monetary damages under the Consumers Legal
11                     Remedies Act;
12               (e)   Any and all remedies provided pursuant to the Song-Beverly
13                     Act, including California Civil Code section 1794;
14               (f)   Any and all remedies provided pursuant to the Magnuson-
15                     Moss Warranty Act;
16               (g)   A declaration that Defendant must disgorge, for the benefit of
17                     the Class, all or part of the ill-gotten profits it received from
18                     the sale or lease of the Class Vehicles or make full restitution
19                     to Plaintiffs and Class Members;
20               (h)   An award of attorneys’ fees and costs, as allowed by law;
21               (i)   An award of attorneys’ fees and costs pursuant to California
22                     Code of Civil Procedure § 1021.5;
23               (j)   An award of pre-judgment and post-judgment interest, as
24                     provided by law;
25               (k)   Leave to amend the Complaint to conform to the evidence
26                     produced at trial; and
27               (l)   Such other relief as may be appropriate under the
28                     circumstances.
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 1                              DEMAND FOR JURY TRIAL
 2         268. Pursuant to Federal Rule of Civil Procedure 38(b) and Central
 3   District of California Local Rule 38-1, Plaintiffs demands a trial by jury of all
 4   issues in this action so triable.
 5
     Dated: December 5, 2019                     Respectfully submitted,
 6
                                                 Capstone Law APC
 7
 8
                                            By: /s/ Steven Weinmann
 9                                              Steven Weinmann
                                                Tarek H. Zohdy
10                                              Cody R. Padgett
                                                Trisha K. Monesi
11
12                                             /s/ Russell D. Paul
                                                 Russell D. Paul
13                                               Amey J. Park
14                                               BERGER MONTAGUE PC
15                                               Attorneys for Plaintiffs and the Class
16
17
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        EXHIBIT 1
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           13      Attorneys for Plaintiffs
           14
                                               UNITED STATES DISTRICT COURT
           15
                                             CENTRAL DISTRICT OF CALIFORNIA
           16
           17      GORDON ARMSTRONG,                                  Case No.:
                   ANDREW VIERRA, SANDY
           18      MORENO and STEPHEN
                   MERMAN, individually, and on                       DECLARATION OF GORDON
           19      behalf of a class of similarly situated            ARMSTRONG IN SUPPORT OF
                   individuals,                                       VENUE FOR CLASS ACTION
           20
                                    Plaintiffs,                       COMPLAINT PURSUANT TO
           21                                                         CIVIL CODE § 1780(d)
                           v.
           22
                   SUBARU OF AMERICA, INC. and
           23      FUJI HEAVY INDUSTRIES, LTD.,
           24
                                    Defendants.
           25
           26
           27
           28

                                DECL. OF GORDON ARMSTRONG IN SUPPORT OF PLAINTIFF’S SELECTION OF VENUE FOR TRIAL
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             1                          DECLARATION OF GORDON ARMSTRONG
             2             I, GORDON ARMSTRONG, declare under penalty of perjury as follows:
             3             1.       I make this declaration based upon my personal knowledge except as
             4     to those matters stated herein that are based upon information and belief, and as to
             5     those matters, I believe them to be true. I am over the age of eighteen, a citizen of
             6     the State of California, and a Plaintiff in this action.
             7             2.       Pursuant to California Civil Code §1780(d), this Declaration is
             8     submitted in support of Plaintiff’s Selection of Venue for the Trial of Plaintiffs’
             9     Cause of Action alleging violation of California’s Consumers Legal Remedies Act.
           10              3.       I reside in Santa Clarita, California, which is in the County of Los
           11      Angeles. I purchased a 2017 Subaru Outback that is the subject of this lawsuit in
           12      California and accepted delivery of the vehicle in the County of Ventura.
           13              4.       I am informed and believe that Defendant Subaru of America, Inc.
           14      (“SOA” or “Subaru”) is a New Jersey corporation organized and existing under the
           15      laws of the State of New Jersey and is registered to conduct business in California.
           16      Subaru’s corporate headquarters and principal place of business is located at One
           17      Subaru Drive, Camden, New Jersey 08103. On information and belief, Defendant
           18      conducts business in Los Angeles and Ventura County.
           19              5.       Based on the facts set forth herein, this Court is a proper venue for the
           20      prosecution of Plaintiff’s Cause of Action alleging violation of California’s
           21      Consumers Legal Remedies Act because my 2017 Subaru Outback that is the
           22      subject of this lawsuit is situated here, and a substantial portion of the events
           23      giving rise to my claims occurred here.
           24              6.       I declare under penalty of perjury under the laws of California and the
           25      United States of America that the foregoing is true and correct.
           26              Executed on December 5, 2019, in Santa Clarita, California.
           27
           28                                                      Gordon Armstrong
                                                                     Page 1
                                DECL. OF GORDON ARMSTRONG IN SUPPORT OF PLAINTIFF’S SELECTION OF VENUE FOR TRIAL
